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3 Los age es, CLEnK,__lL§E'§EI%!A£
4 Plaintiff in Pro Se JUN
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8' ' ' ' ' nUNITED STATES DISTRICT'COURT ' '

9 CENTRAL DICTRICT OF CALIFORNIA
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12 Ruben Serna k C ' ia£N": l‘ 9 8 5 S,V V\/ fm V\/X
13 Plaimirrs, vERIFrED AcTIoN-AT-LAW
14 vsl VIOLATION OF FDCPA
15 ’ (DEBT COLLECTOR)
16 15 U.S.C. 1692,et. Seq.
NDEX WEST LLC, PENNYMAC LOAN
17 SERVICES LLC and CITI MORTGAGE, INC.
l 8 and DOES l-l 00, Inclusive
19 Defendants
2 0
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23 DEMAND TRIAL BY JURY
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2 5
2 6 -ABUSES IN MORTGAGE FORECLOSURE
27 Abuses in mortgage foreclosure process have been documented in previous
28 Decisions of the Court. In In re Foreclosure Cases, 2007 WL 3232430 (N.D. Ohio Oct_ober
2 9 31, 2007), Judge Boyko found the foreclosure process Was “a quasi-monopolistic system”
30 in Which financial institutions, “unchallenged by underfinanced opponents,” disregard the
31 requirements of the judicial process and instead “rush to foreclose, obtain a default
32 judgment and then sit on the deed, avoiding responsibility for maintaining the property
1 PA§ 53
SERNA VS NDEX WEST, LLC JUN 2 6 ZUM /
clerk, US Dismcl Coun

 

 

 

 

 

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1 while reaping the benefits of interest running on the judgmen .”

3 DEFENDANTS CLAIMS AND FILINGS ARE VOI])

4 PLAINTIFFS CASE IS BASED ON DEFENDANTS FILINGS AND CLAIMS THAT ARE
5 ALL VOID. THERE I-lAVE BEEN MANY LANDMARK CASES AGAINST ALLEGDED
6 LEN])ERS INVOLVED IN THE FORECLOSURE MILL WHICH HAS DESTROYED

7 OUR ECONOMY. THIS IS WHY THE COURTS SHOULD HONOUR PLA]NTIFFS

a ' REQUEST FOR TRIAL BY"JURY.' " " f " n ' j j m f ' '

10 TO THE HONORABLE COURTS AND DEFENDANTS AND THE[R ATTORNEYS
11 FORGERY IS A CRIMINAL OFFENSE

12 PLAINT[FF’s Complaint is already material court admissible evidence in the instant record
13 that indicate major fraud, deceit, misrepresentation, and lack of full disclosure, specifically

14 related to false assignments, and false agencies, that are directly associated with criminal

15 forgeries by people with no personal knowledge, on documents purported to be knowingly,

16 willingly, and intentionally signed by high lending institution authority. It is also well

17 documented that these signatures have also been fraudulently notarized with criminal forgeries
18 by pretend notaries, Who have Witnessed absolutely nothing. This has been accomplished for the
19 sole purpose of creating a false public record supporting unjust enrichment to the opposition and
20 to separate a family from their living quarters of many years. Unless the DEFENDANTS and or
21 their Attorneys of record admit to these claims it will appear that counsel for the opposition is
22 attempting to mislead this Honorable court into becoming an accessory to the subject criminal
23 activity.

24 There is nothing in the instant record that would indicate that the undersigned has ever had a
25 valid contract with the opposition, or has borrowed anything from the opposition, or has made

2 6 any payments to the opposition, or has stopped making payments to the opposition. The

27 undersigned simply does not know who the opposition is.

28 To make matters worse for the opposition, there is also absolutely no court admissible

2 9 evidence in the instant record that would indicate that the opposition is a true holder in due

30 course of any original promissory note, mortgage, or deed of trust, properly endorsed, that is in
31 any Way related to the subject private land and house, leaving the opposition with absolutely no

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SERNA VS NDEX WEST, LLC

 

 

 

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lawful standing to be in this court, and rendering all of their paperwork an attempted fraud upon
this Honorable court, and a sanctionable activity. l
Due to the above-mentioned lack of lawful standing, the undersigned respectfully requests

this Honorable court to issue a quiet title against the opposition in favor of the undersigned

TO THE ATTORNEYS OF RECORD FOR DEFENDANTS
While the supreme court has recently affirmed in Cassel v. Superior Court, 51 Cal. 4th 1 13
(2011) where "[a]ll communications negotiations or settlement discussions by and between
participants in the course of a mediation...shall remain confidential ”, now then, the ethics rule
in California dealing with lying is Rule of Professional Conduct 5~200, which provides that it is
improper to misrepresent a false statement of fact or law when presenting a matter within a
court-related context T his commandment is mirrored in Business and Professions Code Section
6068(d), which requires attorneys “to employ, for the purpose of maintaining the causes
confided to him or her means only as are consistent with truth, and never to seek to mislead the
judge or any judicial o]j'icer by an artifice or false statement of fact or law. ” Violators of Rule 5-

200 are subject to contempt of court in addition to discipline by the State Bar.

I.
]NTRODUCTION

Plaintiffs entered in a residential real estate purchase agreement with THE ORIGNAL
LENDER CITICORP TRUST BANK on or about 07/28/2009 for the amount of
$171,560.28, now the DEFEDNDANTS NDEX WEST LLC, PENNYMAC LOAN
SERVICES LLC and CITI MORTGAGE, INC whom are DEBT COLLECTORS are
Fraudulently claiming ownership of PLAINTIFF’s property and proceeding With a Wrongful
foreclosure sale where DEFENDANTS failed to research title of the property and failed to
comply to UCC 3-203 which states; This transaction is in violation under the provisions of the
Uniform Commercial Code UCC Article 3-203. TRANSFER OF AN INSTRUMENT, THE
RIGHTS IS ACQUIRED BY TRANSFER:

(a) An instrument is transferred when it is delivered by a person other than its issuer for

the purpose of giving to the person receiving delivery the right to enforce.

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(b) Transfer of an instrument whether or not the transfer is a negotiation, vests in the
transferee any right of the transferor to enforce the instrument including any right as a holder in
due course, but the transferee cannot acquire rights of a holder in due course by a transfer,
directly or indirectly, from a holder in due course if the transferee engaged in fraud or illegality
a]fecting the instrument,' and in addition, Defendant allege that Plainti#(s) had a fictitious

unauthorized signer known as Doe Defendant

PRO SE STATUS OF PLAINTIFFS

l. PLAINTIFF has attempted to drafc, file, and serve this ACTION-AT-LAW and
related Subject Matter Jurisdictional Challenge to the DEFENDANTS, according to
PLAINTIFFS best knowledge, information, and good-faith belief regarding his Unalienable
Rights as originally declared in the 1776 A.D. Unanimous Declaration of Independence, and as
later protected by the American Law of the Land and its Common-Law.

2. PLAINTIFF sincerely believes that PLAINTIFF can justifiably rely, if necessary,
on the long held MAXIM OF LAW that clearly states: “Substance is more important than Form.”

3. PLAINTIFF also believes that PLAINTIFF can also justifiably rely on the UNITED
STATES SUPREME COURT Case, entitled, Haines v. Kerner, 1972, 404 U.S. 51 9, 30.L. Ed. 2d
652, 92 S. Ct, 594, 496, Reh. Den., 405 U.S. 948, 30 L. Ed. 2d 918, 92 S, Ct, 963, which clearly
states, to wit.'

“Pro Se complaints are held to less stringent standards than formal pleadings by

lawyers, and regardless of who represents the Plaintijfs‘, a motion to dismiss is not to be granted
unless it appears beyond doubt that the Plaintijfs can prove no set of facts which would entitle

them to relief ”

NATURE OF THIS ACTION-AT-LAW
This is a complaint for money damages, Defendants NDEX WEST LLC, PENNYMAC LOAN
SERVICES LLC and CITI MORTGAGE, INC carefully conceived contrivance whereby thy
were assigned the debt of a purported defaulted mortgage loan, under guise of an assignment of
Deed of Tiust, and they erroneously foreclosed on Plaintiffs Property, and are attempting to
erroneously evict Plaintiffs from Plaintiffs property. The elaborate carefully conceived
contrivances carried out by Defendants with complicity of Defendants and their Attomeys were

either FA_LSE and misleading representation or unfair practices, and constitute violations of 15

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U.S.C. 1692(e) & @9, RESPECTIVELY. lt should be noted that the Selling, Assigning, and or
Transferring of such Debt, Loan and or Promissory Note, without continuing any validity or
existence thereto, was effectuated previously thereto, concurrently therewith, and or subsequent
to the execution, creation or making of any of the “Security, Secured Instruments”, and or
Deed of Trust” as referenced herein, as follows;
First; From; CITICORP TRUST BANK

To; CITI MORTGAGE, INC.
Second; From; CITI MORTGAGE,¢ INC.

To; PENNYMAC LOAN SERVICES LLC

DEFENDANTS ARE DEBT COLLECTORS AND NEVER HAD ANY AUTHORITY TO
ASSIGN TRANSFER ANY RIGHTS AND OR TITLE OF PLAINTIFFS PROPERTY.

Defendants never produced any documentation that was acknowledged and duly recorded.

PART[ES

l). PlaintiffRuben Serna, (THEREINAFTER “Plaintiffs”) was, and at all material times
mentioned in this complaint a resident of the County of LOS ANGELES, State of California.

2). At all relevant times NDEX WEST LLC, PENNYMAC LOAN SERVICES LLC
and CITI MORTGAGE, INC '(thereinafcer “Defendants”) is a company who has transacted
business and/or or continues to transact business throughout the State of Califomia, including
LOS ANGELES County under other names, through their named Co-Defendants and /or
through its affiliates

LEGAL FACTS

and in particular, 15 U.S. C. Section 1692 a (6) in that they used U.S. Mail in a business whose
primary purpose is the collection of debts.

4) Defendants were attempting to collect from Plaintiff`s and alleged residential mortgage
debt since 2010, when they were assigned the purported debt Please See'Exhibit A.

5) The alleged debt was incurred for personal, family or household purposes (to pay for

housing) and not for business purposes.

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SERNA VS NDEX WEST, LLC

 

 

3) DEFENDANTS are a “Debt Collector” within the meaning of 15 U.S.C. 160 ET.SEQ,

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COUNT 1: Violation of 15 USC 1692(e)(2)(A) & (B)

6) Plaintiff incorporates by reference all the foregoing paragraphs.

7). This count is for violation of 15 USC 1692(e)(2)(A) & (B). This count consist of
Plaintiffs and defendants

8). 15 USC 1692(e)(2)(/1) & (B) states;

(2) T he false representation of-
A. the character, amount, or legal status of any debt,' or
7152 any services renderedi or compensation which"may be lawfully received by any
debt collector for the collection of a debt.

9). Defendants gave false representation in their letters and or notices as to the
character and legal status of the debt, by implying they had the right to foreclose on
Plaintiffs property, a security for the debt, rather than, upon information and belief,
the debt being unsecured debt they obtained like all debt collectors do, at pennies on
the dollar.

10). Defendants gave false representations in their letters and notices as to the services
rendered by them acting as debt collectors, rather than what they erroneously
purported to be, which creditors with the right to foreclose on property were.

ll). Defendants violated 15 USC 1692(e) (2) (A) & (B) by the misrepresentations in their
letters and notices as to the character and legal status ofthe debt, and their services
rendered1

12). Wherefore, the Plaintiffs demands;

(a) statutory damages pursuant to 15 USC 1692(k)(a), and
(b) fees and cost pursuant to 15 USC 1692(k) (a).

COUNT 2: Violation of 15 USC 1692(e)(3)
13). Plaintiffs incorporate by reference all the foregoing paragraphs
14). This count is for violation of 15 USC 1692(e) (3). This count consist of Plaintiffs
and Defendants
15). 15 USC 1692(e) (3) states:
(3) T he false representation of implication that any individual is an attorney or
that any communication is from an attorney.

16). Defendants in their letters and notices gave false implication that the letters were

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from attorneys, because although many of the letters were on ( Law Firm) from
Defendant letterhead, they were from an attorney, when an attorney never signed
them.
17). Wherefore, the Plaintiffs demands;
(a) statutory damages pursuant to 15 USC 1692(k) (a), and
(b) fees and cost pursuant to 15 USC 1692(k)(a).

COUNT 3:'Violation'6f 15US"C"1"692(c)(4) 7 j
18). Plaintiffs incorporate by reference all the foregoing paragraphs.
19). This count is for Violation 15 USC 1692 (e) (4). This count consist of Plaintiffs
and Defendants.
20). 15 USC 1692 (e) (4) states:

(4) T he representation of implication that nonpayment of any debt will result
in the arrest or imprisonment of any person or the seizure, garnishment
attachment or sale of any property or wages of any person unless such
action is lawful and the debt collector or creditor intends to take such
action.

21). Defendants in their letters and notices gave the false representation that
Plaintiff’ s property would be sold.

22). Defendants violated 15 USC 1692 (e) (4) by the false representation that
Plaintiffs property would be sold.

23). Wherefore, the Plaintiffs demands;
(a) statutory damages pursuant to 15 USC 1692(k)(a), and
(b) fees and cost pursuant to 15 USC 1692(k)(a).

COUNT 4: Violation of 15 USC 1692 (e)(S)
24). Plaintiffs incorporate by reference all the foregoing paragraphs
25).This count is in Violation 15 USC 1692 (e) (5). This count of Plaintiffs and
Defendants.
26). 15 USC 1692 (e) (5) states:
(5) T he threat to take action that cannot legally be taken or that is not
intended to be taken.

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27). Defendants in the letters and notices gave the threats that Plaintiffs
property would be foreclosed, which is an action that cannot be taken by
a debt collector.

28). Defendants violated 15 USC 1692 (e)(5) by their threat given their
letters and notices to foreclose, which is not legally possible for debt
collectors

29). Wherefore, the Plaintiffs demands;
(a)'"s'tatutory damages pursuant'to 15 USC 1692(/()"(a),"'and
(b) fees and cost pursuant to 15 USC lo920c)(a).

COUNT 5: Violation of 15 USC 1692(e)(6)(B)
30). Plaintiffs incorporates by reference all the forgoing paragraphs
31). This count is for violations of 15 USC 1692(e) (6) (B). This count
consist of Plaintiffs and defendants
32). 15 USC 1692(e)(6)(B) states:
(6) T he false representation or implication that a sale, referral, or
other transfer of interest in a debt shall cause the consumer to-
(B) become subject to any practice prohibited by thus subchapter.
33). Defendants assignment of debt gave the false implication that this
assignment of debt would cause the consumer subject to foreclosure,
which is prohibited by debt collectors Please See Exhibit A
34). Defendants violated 15 USC 1692(e) (6) (B) by giving false implication
that this assignment of debt would cause the consumer/Plaintiffs to
become subject to foreclose, which is prohibited by debt collectors
35). Wherefore, the Plaintiffs demands;
(a) statutory damages pursuant to 15 USC 16920¢)(0), and
(b) fees and cost pursuant to 15 USC 1692(k)(a).

COUNT 6: Violation of 15 USC 1692(e)(10)
36). Plaintiffs incorporates by reference all the forgoing paragraphs
37). This count is for violations of 15 USC l692(e)(10) This count

consist of Plaintiffs and defendants

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SERNA VS NDEX WEST, LLC

 

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1 38). 15 USC 1692(e) (10) states:
2 (10) They use any false representation or deceptive means to collect or
3 attempt to collect any debt or to obtain information concerning a
4 consumer.
5 39). Defendants sent Debt collector letters and notices requesting
6 documentation and to fill out a financial worksheet, under the guise of
7 working out a Loan (Mortgage) modification, but was really just a
8" ' ' ' ' ' deceptive means to"obtain information onconsumer/Plaintiffs for the 7
9 purpose of collecting a debt. Please See Exhibit B
1 0 40). Defendants through their agents violated 15 USC 1692(e)(10) by the use of
11 deceptive means to obtain information to collect a debt concerning
12 Plaintiffs
13 41). Wherefore, the Plaintiffs demands;
14 (a) statutory damages pursuant to 15 USC 1692(Ic)(a), and
15 (b) fees and cost pursuant to 15 USC 1692(k)(a).
1 6
17 COUNT 7 : Violation of 15 USC 1692 (t)(l)
18 42). Plaintiffs incorporates by reference all the forgoing paragraphs
19 43). This count is for violations of 15 USC 1692 09(1 ) This count
2 0 consist of Plaintiffs and defendants
21 44). 15 USC 1692 @(1) states:
22 (1) T he collection of any amount (including any interest fee, charge, or
23 expense incidental of the principle obligation) unless such amount is
2 4 expressly authorized by the agreement creating the debt or permissible by
25 law.
2 6 45). Defendants acting on behalf of Original Lender sent debt collection letters,
27 attempting to collect unpaid interest, late charges, and inspection fees,
2 8 which were incidental to the principle obligation. Please See Exhibit C
2 9 46). Defendants through their agents violated 15 USC 1692 09(1) by
30 attempting to collect unpaid interest, late charges, and inspection fees,
31 Which were incidental to the principal obligation.
32 47). Wherefore, the Plaintiffs demands;
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SERNA VS NDEX WEST, LLC

 

 

 

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1 (a) statutory damages pursuant to 15 USC 1692(k)(a), and

2 (b) fees and cost pursuant to 15 USC 1692(k) (a).

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4 COUNT 8: Violation of 15 USC 1692(1`)(6)(A)

5 48). Plaintiffs incorporates by reference all the forgoing paragraphs

6 49). This count is for violations of 15 USC 169209(6)(/1)This count

7 consist of Plaintiffs and defendants

8 50). 15 USC 1692@(6)(24) states:

9 (6) Taking or threating to take any nonjudicial action to e]fect dispossession or
1 0 disablement ofproperty if-
11 (A) there is no present right of possession of the properly claimed as collateral
12 4 through an enforceable security interest,'
13 51). Defendants through their letters and notices threatened to take the nonjudicial
14 action of foreclosure against Plaintiff’s property, and Defendants actually did
15 erroneously foreclosed on Plaintiff’s property, There was no right to possession
16 of the property by defendants because the assignment was not of the Deed of
17 Trust, but of the debt., and the debt collectors have no right to foreclose, not to
18 ` mention the problem with the Deed of Trust not being recorded “properly”
1 9 because the Deed of Trust was defunct at the time of recording among other
20 major problems with the foreclosure process
21 52). Defendants violated 15 USC 1692@(6) (A) by threatening to take nonjudicial
22 action of foreclosure against Plaintiffs property when there was no right to
23 possession of the property by defendants because the assignment was not of the
24 Deed of Trust but of the ldebt, and the debt collectors have no right to foreclose,
25 among the many other issues
2 6 53). Wherefore, the Plaintiffs demands;
27 (a) statutory damages pursuant to 15 USC 1692(k)(a), and
2 8 (b) fees and cost pursuant to 15 USC 1692(k) (a).
29 COUNT 9: Violation of 15 USC 1692 (j)(a)
30 54). Plaintiffs incorporates by reference all the forgoing paragraphs
31 5 5). This count is for violations of 15 USC 1692 Uj(a) This count
32 consist of Plaintiffs and defendants

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SERNA VS NDEX WEST, LLC

 

 

 

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56). 15 USC 1692 gj(a) states;
(a) It is unlawful to design, complete, and furnish any form knowing that
such form would be used to create the false belief in a consumer that a
person other than the creditor of such consumer is participating in the
collection of or in an attempt to collect a debt such consumer allegedly owes
such creditor, when in fact such person is not so participating

57). Defendants and their agents acting on behalf of the Original Lender sent the
debt collection letter réqu'esting'documents and to fill out a financial
worksheet, under the guise of working out a mortgage modification, but
created the false belief in Plaintiffs mind that a person other than the creditor
of Plaintiffs was participating in the collection.

5 8). Defendants through their agents violated 15 USC 1692 g) (a) by using the
financial worksheet form that created the false belief in Plaintiff’s mind
that a person other than the creditor of plaintiffs was participating in the
collection. _

59). Wherefore, the Plaintiffs demands;
(a) statutory damages pursuant to 15 USC 1692017)(a), and
(b) fees and cost pursuant to 15 USC 169206)(¢1).

FORGERY BROUGHT TO THE FOREFRONT
n VIOLATION OF CONDITION PRECEDENTS
ASSIGNMENT OF DEED OF TRUST

4. PLAINTIFFS entered in an agreement with CITICORP TRUST BANK, in good faith
in a promissory Note and DEED OF TRUST. Said DEED OF TRUST Section Titled SALE
OF NOTE; CHANGE OF LOAN SERVICER; NOTICE OF GRIEVANCE; States, T he
Note or a partial interest in the Note (Together with this Security Instrument) can be sold one or
more times without prior notice to Borrower. A sale might result in a change in the entity (known
as the “Loan Servicer”) that collects servicing obligations under the NOTE and this Security
lnstrument and performs other mortgage loan servicing obligations under the Note, T his

Security Instrument, and applicable Law, Please See Exhibit D

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1 1
2 DEFENDANTS ARE IN VIULA T10N OFAR TICLE 9-203(b)
3 Section 9-203(b) of the Uniform Commercial Code provides that three criteria must be fulfilled
4 in order for the owner of a mortgage note effectively to create a “security interest” (either an
5 interest in the note securing an obligation or the outright sale of the note to a buyer) in it.
6 -The first two criteria are straightforward ~ “value” must be given and the debtor/seller must
7 have rights in the note or the power to transfer rights in the note to a third party.

9 “authenticate” a “security agreement” that describes the note or the secured party must take
10 possession of the note pursuant to the debtor’s security agreement
1 1
12 UCC § 9-203(b)(1). UCC § 1~204 provides that giving “value” for rights includes not only
13 acquiring them for consideration but also acquiring them in return for a binding commitment to
14 extend credit, as security for or in complete or partial satisfaction of a preexisting claim, or by
15 accepting delivery of them under a preexisting contract for their purchase.
1 6
17 DEFENDANTS FAILED TO'COMPLY WITH DEFENDANTS ALLEDGED
18 OBLIGATIONS AS A SERVICER AND OR LENDER. DEFENDANTS filed FORGED and
19 FRAUDULENT documents deceiving the courts and ALLEGED DEBTOR in order to
20 FRAUDULENT START THE FORECLOSE PROCESS.
21 ii
22 TECHNICAL VALIDITY OF THE SECURITY INSTRUMENT
23 UCC § 9-102(a) (73)
2 4 A “securitv agreement” is an agreement that creates or provides for a security interest (including
25 the rights of a buyer arising upon the outright sale of a payment right

26

27 §9-203(a): A security interest attaches when the security interest becomes enforceable

2 8 A security interest is attached when.'

29 (b) (1) Value has been given ~ i.e. money has been loaned
30 (b) (2) T he debtor has rights to the collateral
31 (b) (3) T he debtor has authenticated 9-102(a) (7) the security agreement (written security

32 interest)- must have a description of the interest

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Argument Brought to Forefront
A) HOW CAN A DEBT COLLECTOR POSSESS THE PROMISSORY NOTE?
B) HOW CAN A DEBT COLLECTOR POSSESS THE DEED OF TRUST?

FACT I
NOT PROPERLY ASSIGNEl) F'OR'A PR*OPER'FO¢RECLOSURE'SALE, SO
DEFENDANTS CLA]lVIS ARE VOID AND WITHOUT AUTHORITY.

Chapter 4 03. Uniform commercial code--negotiable instruments

 

403.301 Person entitled to enforce instrument
ENFORCEMENT OF INSTRUMENTS
403.301 Person entitled to enforce instrument "Person entitled to enforce " an instrument means
the holder of the instrument a nonholder in possession of the instrument who has the rights of a
holder, or a person not in possession of the instrument who is entitled to enforce the instrument
under s. 403.3 09 or 403. 418 (4). A person may be a person entitled to enforce the instrument
even though the person is not the owner of the instrument or is in wrongful possession of the

instrument

TRANSFER OF AN INSTRUlV[ENT, THE RIGHTS IS ACQUIRED BY TRANSFER:

(a) An instrument is transferred when it is delivered by a person other than its issuer for
the purpose of giving to the person receiving delivery the right to enforce.

(b) Transfer ofan instrument whether or not the transfer is a negotiation vests in the
transferee any right of the transferor to enforce the instrument including any right as a holder in
due course, but the transferee cannot acquire rights of a holder in due course by a transfer,
directly or indirectly, ji'om a holder in due course if the transferee engaged in fraud or illegality
ajfecting the instrument,' and in addition, Plaintiffs allege that Defendant(s) had a fictitious
unauthorized signer known as Doe Defendant In order for this process to be lawful, the
authorizing ojj‘icer signing the document must have actual Corporate Authority, and said
Corporation must have Power ofAttorney to act on behalf of the Owner/Holder in order to have

a lawful transfer.

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SERNA VS NDEX WEST, LLC

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1 LLP v. Sabine (8/2010) “the assignment produced by LPP is insujficient to demonstrate it has
2 standing as (1 )MERS has no ownership rights in the note and thus cannot assign it,' (2) the
3 language of the assignment of the mortgage does not evidence an intent to assign the underlying
4 note, (3) the assignment arises out of a purchase agreement with an entity who is not a party to
5 this action, and (4) the provision of mortgage document relied on by LPP does not give MERS
6 the authority to assign the mortgage or the note.
7 Hawkins, Case No. BK-S-07-13593-LBR (Bankr.Nev. 3/31/2009) (Bankr.Nev., 2009) - “A
8' “beneficiaiy” is defined as "‘one'designated tb"benefitfrom"an appointment disposition/or v

9 assignment .. . or to receive something as a result of a legal arrangement or instrument ”
10 BLACK’S LAWDICTIONARY 165 (8th ed.` 2004). But it is obvious from the MERS ’ “Terms and
1 1 Conditions ” that MERS is not a beneficiary as it has no rights whatsoever to any payments to
12 any servicing rights, or to any of the properties secured by the loans. To reverse an old adage, if
13 it doesn ’t walk like a duck, talks like a duck, and quacks like a duck, then it ’s not a duck ”
14 Saxon vs Hilleiy, Dec 2008, Contra Costa County Superior Court an action by Saxon to
1 5 foreclose on a property by lawsuit was dismissed due to lack of legal standing T his was because
16 the Note and the Deed of T rust was “owned” by separate entities T he Court ruled that when the
17 Note and Deed of T rust were separated, the enforceability of the Note was negated until

1 8 rejoined.

1 9

2 0

2 l 1. MORTGAGE WITHOUT AN ENFORCEABLE RIGHT IS A LEGAL NULLITY.

22 Since the DEED OF TRUST had been assigned, in CALIFORNIA only the holder of the Note
23 can initiate foreclose proceedings regardless of Who the mortgage is owed. (See Adler v. Sargent
24 (1895) 109 Cal. 42, 49). A “mortgagee 's purported assignment of the mortgage without an

25 assignment of the debt which is secured is a legal nullity.” (Kelly v. Upshaw (1952)

2 6 39 Cal.2d 1 79, 192.)

27 Plaintiff executed the Note and DEED OF TRUST in favor of CITICORP TRUST BANK

28 more importantly; any assignment of the DEED OF TRUST to, without the Note would still

:: render the MORTGAGE a legal nullity with no enforceable power of sale,

:: Chapter 4 03. Uniform commercial code-negotiable instruments

14

SERNA VS NDEX WEST, LLC

 

 

 

Casd 2:14-cv-O4985-SVW~FM Document 1 Filed 06/26/14 Page 15 of 87 Page ||IP #:15

1 403.109 Payable to bearer or to order.

3 2. CREDITOR, HAS N 0 ENFORCEABLE RIGHT UNDER THE NOTE
4 3. CREDITOR, ISN’T THE HOLDER OF THE NOTE REQUIREMENTS.
5 4. CREDITOR, CAN ONLY ENFORCE THE NOTE IF IT MEETS THE
6 REQUIREMENTS OF EITHER Uniform Comm. Code § 3-309 or § 3-418(¢10. Uniform
7 Comm. Code § 3-309 states:
8 (A) 7Aperson not in possession of an instruments entitled 7toweinforce the instrument if (1) the
9 person was in possession of the instrument and entitled to enforce it when loss of possession
1 0 occurred, (2) the loss of possession was not the result of a transfer by the person or a lawful
11 seizure, and (3) the person cannot reasonably obtain possession of the instrument because the
12 instrument was destroyed, its whereabouts cannot be determined, or it is in the wrongful
13 possession of an unknown person or a person that cannot be found or is not amendable to
1 4 service of process _
15 5. DEFENDANTS, cannot meet either criterion, since DEFENDANTS, have never been
16 in possession of the Note in the first place, it cannot subsequently, establish a loss.
17 The official UCC commentary to Section 3-309 states that:
18 “Judgment to enforce the instrument cannot be given unless the court finds that the [plaintijfs]
1 9 will be adequately protected against a claim to the instrument by a holder that may appear at
2 0 some later time. ”
2 1 6. . DEFENDANTS HAVE NOT MADE THE REQUISITE SHOWING AND
22 PLAINTIFF MUST BE PROTECTED AGAINST A FUTURE CLAIMANT THAT MAY
2 3 APPEAR AT SOME LATER TIME.
24 7. DEFEDNANTS HAVE NO ENFORCEABLE RIGHT UN])ER THE NOTE
25 Accordingly, the power of sale may not be exercised by any third party, since there was never an
2 6 acknowledged and recorded assignment
27 8. THE COURT SHOULD HALT THE FORECLOSURE SALE AND EVICTION
28 PROCEEDINGS BECAUSE A GENUINE DISPUTE EXISTS
29 10. THE COURT SHOULD NOT PERMIT FORECLOSURE OR EVICTION IF ITS
30 PROPRIETY IS ]N QUESTION.
31

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SERNA VS NDEX WEST, LLC

 

 

 

Case 2:14-cv-O4985-SVW-l\57;JYV Document 1 Filed 06/26/14 Penge 16 of 87 Page |E #:16

1 The Supreme court in More v. Calkins (1895) 84 Cal. 1 77 held that a sale under foreclosure

2 ought not to be made when the debt is uncertain or in dispute.

3 This is still true today as the Court in Baypoint Mortgage Corp. v. Crest Premium Real Estate

4 etc., T rust (1985) 168 Cal.App. 3d 818 [214 Cal.Rptr. 3d 531] noted "Given the drastic

5 implications of a foreclosure, it is not surprising to find courts quite frequently granting

6 preliminary injunctions to forestall this remedy while the court considers a case testing whether
7 it is justified under the facts and law. ” (See, e.g., Stockton v. Newman (1957) Cal.App.2d 558

8 ' [307 P2d. 56],' Bisno 713. 7Sax7(1959)71757CaLApp2d 7147 [347671’2177¢71'7..$']4].) 7 7 7 7 7

10 PLAINTIFF’s likelihood of prevailing at trial is substantially assured. If the foreclosure

11 and Eviction Process is not immediately reversed, PLAlNTIFFS will lose their home - a loss

12 which is irreparable and cannot be adequately compensated for by money.

13 Therefore, PLAlNTIFFS seeks, through their Action-At-Law, an order from this Court

14 enjoining Defendants from proceeding with an eviction on Plaintiffs home in any manner during

15 the pendency of this litigation.

1 6
17 V.

18 CONCLUSION

1 9

20 DEFENDANTS are an unknown third party DEBT COLLECTOR without any

2 1 enforceable right to foreclose on PLAINTIFF 'S home. lt can show no interest whatsoever in

22 the Note and thus is precluded from a foreclosing under CALIFORNIA Laws. The title must be
23 DULY PERFECTEDa in this case the title was not Duly Perfected and was foreclosed upon in
24 Violation of CALIFORNIA FORECLOSURE LAWS.

25
2 6 If the WRONGFUL EVICTION proceeds, PLAINTIFFS losses will be irreparable and
27 cannot be adequately compensated by money.

28 PLAINTIFF respectfully request an ]NJUNCTION prohibiting DEFENDANTS and their
29 agents and assigns, from EVICTION PROCESS AND A WRONGFUL FORECLOSURE sale
30 on PLAlNTIFFS property in any way.

3 1
32 PLA]NTIFF’S PRAYER

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SERNA VS NDEX WEST, LLC

 

 

 

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2:14-cv-O4985-SVW-€JYV Documentl Filed 06/26/14 Penge 17 of 87 Page |D

l. For a decree and order determining and Granting PLAlNTIFFS REQUEST
ENJOINING OF DEFENDANTS for and to the benefit of
PLAINTIFF’S, as to the “InRem” Property, and as against any and all o_f
DEFEDNANTS hereto and to any “Adverse Claims”, they allege to possess herein:
2. The Judicial Declaration be entered and each of them be declared to have no interest

either Legal or Equitable, nght, estate, or lien in subject Property and that the

 

7 7 DEFENDANTS,7 their agents or Assigns, be forever enjoined frnni asserting 7es7tate,77
right, title or interest to subject property

3. That each and every Party herein be Specifically Ordered to Perform and effectuate a
full Conveyance of any and all relative “Security”, Secured Instruments and or
“DEED OF TRUST”

4. F or such reasonable cost of suit.

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Respectfully

 

Ruben Serna
PLAINTIFF in Pro Se

17

SERNA VS NDEX WEST, LLC

 

 

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Case 2:14-cv-O4985-SVW-F®/V Document 1 Filed 06/26/14 Page 18 of 87 Page ||3 #:18

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ii EXHIBIT A

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SERNA VS NDEX WEST, LLC

 

 

 

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RECORDlNG REQUESTEO BY
FIRST AMER|CAN TlTLE ll‘lSUFlf-\NCE COMPAN\‘
Reccrding Requcsted by: Orion Financial Groiip, Iiic.

04 141201

PLEASE FORWARD RECORDED DOCUMENT TO:

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"c/o Orion Financiul Group, lne. *?.01“[\503582
2860 Exchange Blvd. # 100

Sont_hlake, TX 76092

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77 "Assiglimén'f"f)f Deed 0f'Trust ' ' ' Send Any Notices To Assigriee.

For Valuable Consideration, the undersigned, CITICO,RP TRUST_ BANK, FSBv 354~356 South Decatur, Las Vegas, NV
89\0‘1 (Assignor) by these presents does assign and set over, without recourse, to .CITIMORTGAGE, INC. 4050 Regent Blvd,

Maii Stop NZA-222, lrving, TX 75063 (Assignee) the described deed of trust, together with certain note(s) described with all
RUBEN SERNA, A MARRIED MAN AS HlS SOLE

interest, all liens, any rights due or to become due thereon executed by
AND SEP.ERATE PROPERTY to CITICORP TRUST'BANK, FSB. Said deed ’of»trust.Dated:`_ ".7/19/2009 is recorded in the
State of CA, County of Los Angeles on' 7/28/2009, Docu`r'n'ent20091'150891.AMOUNT: $ 171,560.28 Property Address:

1510 S NEDW HAMPSHIRE AVE, LOS ANGELES, CA 90006

lN WITNESS WHE.REOF,~the undersigned corporation has caused this instrument to be executed as a sealed instrument by ics

proper officer Executed on: April 6, 2010
; CI_TICO UST BANK, FSB
By: 1 1 v , _ 1

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SERNA SJR *01

State of T exas, County of Tarrant

Before me, J. Floi'es, Notary Public, personally appeared, D. M. Wileman, Vice President known to me to be the
person(s) whose name(s) is subscribed to the foregoing instrument and acknowledged to me that lie/she executed the same for the
purposes and consideration therein expressed.
Given under my hand and seal of office on 4/6/20 10.

  

    
  
  
  
 
   

 
    
 

  

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1I27 011
Recording Requestcd by: Orion Financiai Group, Inc,

PLEASE FORWARD RECORDED DOCUMENT TO:

PENNYMAC CORP. '20‘|10152155’
c/o Orion Financial Group, lnc.

2860 Exchange Blvd. # 100

Southlake, 'I'X 76092

Assignment of Deed of Trust Send Any Notices To Assignee,

For Va|ual)|e Consideration, the undersigned CITlMORTGAGE, INC. 4050 REGENT BLVD, MAlL STOP NZA-ZZZ,
lRVING, TX 7 5063 (Assignor) by these presents does assign and set over, without recourse, to PENNYMAC CORP. 27001
Agoura Road, Calabasas, CA 91301 (Assignee) the described deed of trust, together with certain note(s) described with all
interest, all lien.s, any rights due or to become due thereon, executed by RUBEN SERNA, A MARRIED MAN AS HIS SOLE
AND SEPARATE PROPERTY to CITICORP TRUST BANK, FSB. Said deed of trust Dated: 7/| 7/2009 is recorded in the
State of CA, County of Los Ange\es on 7/28/2009, Document 200091150891 AMOUNT: $ 171,560.28 Propeity Address:
1510 SOUTH NEW HAMPSHIRE AVENUE, LOS ANGELES, CA 90006-4512

IN WITNESS WHEREOF, the tmdersigned corporation has caused this instrument to be executed as a sealed instrument by its
proper ofhcer. Executed on: January 6, 2011
CITIMORTGAGE, lNC.

By:

“" E' W“°”“"’ P’°”“"" 111111111|11lllll|l|ll|llllll|ll111111|1||1|111|11

SERNA OFG4 *10064173*

State of Texas, County of Tanant

Before me, J. Flores, Notary Publie, personally appeared, M. E. Wi|eman, Vioe President known to me to be the
person(s) whose name(s) is subscribed to the foregoing instrument and acknowledged to me that lie/she executed the same for the
purposes and consideration therein expressed
Given under my hand and seal of oflice on 01/06/201 1.

       

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CA Los Angeles CITICAP/WLlO l/PENMAC

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*20120
Quality Loan Service Corp.
2141 5th Avenue,
San Diego, CA 92101
619~645-7711

 

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Order~No..120070021-CA-GTl ~ ~ ~ ~ '~' ~ ' '

Substitution of Trustee

WHEREAS, RUBEN SERNA , A MARRIED MAN AS HlS SOLE AND SEPERATE PROPERTY
was the original Trustor. VERDUGO TRUSTEE SERV|CE CORPORAT|ON was the original Trustee, and
ClTlCORF’ TRUST BANK, FSB was the original Benet"iciary under that certain Deed of Trust dated
7}1 712009 and recorded on 7I28!2009 as instrument No. 20091150891, of Offlcial Rec:ords of LOS
ANGELES Countyl CA; and

WHEREAS. the undersigned is the present Beneficiary under said Deed of Trust, and

Wl-IEREASl the undersigned desires to substitute a new Trustee under said Deed of Trust in
place and stead of said original Trustee, or Successor Trustee, thereunder, in the manner provided for in

said Deed of Trust,

NOW, THEREFORE` the undersigned hereby substitutes QUAL|TV LOAN SERV|CE
CORFORAT|ON as Trustee under said Deed of Trust.

Whenever the context hereof so requires the masculine gender includes the feminine and/or neuter, and
the singular number includes the plural.

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County of:,, ,, ,, rr\/enturarr Q"e@lili§upecvisor,
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On this APR 13 Lillz before me Dla“av Ra a notary public

 

personally appeared , who proved to me on the basis of
satisfactory evidence to be the person(s whose name )is/ay€ subscribed to the within instrument
and acknowledged to me that hel e/th executed the same in his/hér/t- ir authorized
capacity(izs), and that by his/h¢‘r/ ir signs ureG) on the instrument the persong§ or the entity
upon ben |f of which the person(s¢i cted, executed the instrument

l certify under PENALT“Y OF PERJURY under the laws of the state of Califomw that the
foregoln paragraph is true and correct

 

    
 

   
 

DlANA V. RAMOS
Commisslon # 1947285 z
Notary Public - Gaiilornia §

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v " #"} Los nogales county
j My Comm. E)iptres Aiig 7. 2015‘

 

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0 the Registrar~Recer tsi/County i';,ier.k ' `» ”

  

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Rceordiug requested h;.': _
STEWART TlTLE 0l~` CA|,lFORNlA. INC.

Wlien Recerded Mail Te:

NDEX West, L.L.C.

15000 Sur\'eyor Boulevard, Suite 500
Addlson, Texas 75001-9013

APN #: 5075-002-013

Property Address;

1510 S NEW HAMPSH|RE AVE

LOS ANGELES, CALIFORNIA 90006

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SUBSTITUTION OF TRUSTEE

WHERE/\S, RUBEN SERNA, A MARRIED MAN AS H|S SOLE AND SEPARATE PROPER¥ was tlic original `l`rusior,
VERDUGO TRUSTEE SERV|CE CORPORAT|OI\’ was the original Trustcc, and CITICORP TRUST BANK, FSB was the original
Benef`iciary Recorded un 07/28/2009 as instrument No. 20091|5089l nt` ufl"iciai records in tlic Ol`tice of the Recorder oi`Los Angeles
Cuuiuy. Califomia, ns mere fully described on said Deed of Trust.; and WHERL"AS, the undersigned is the present Beiicficiary under said
Deed of 'l`rust, and WHEREAS, the undersigned desires to substitute a new Trustce under said Deed of’l'iust in place and instead of said
Drior 'l`ms'tcc. .

NOW, THEREFOR F., the undersigned hereby substitutcs. NDEX West, L.L.C., WHOSE ADDRESS lS: 15000 Sur\'eyor Boulevard,
Suite 500, Addison, Texas 75001»9013, as 'l`rustcc under said Deed of ”l`rust. `

Whenever the context hereof so rcquires, the masculinc gender includes the t`eim`niiie and/or neuter, and thc singular number includes tl\c

 

 

 

 

 

 

~ plural- PENNYMAC CORP. BY PENNvM/ic LOAN sunvicrizs, LLC, its
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DATED: \lLL) |"; _ U
Chrlstoplier'§mtana

State of i . '

county or _ i Authorized Representative

Or\ _____“ OGV’{GW me, ' ' _ , Notary Public. personally
appeared who is known to me in be the persen(s) whose

rilent and acknowledged to rrie tii;it hc/she/thcy executed the same iii his-'licr/tlteir authorized
‘ s) en the instrument lite person(s_), or the entity upon behalf of which the pcrsc)n(s) ncted,

   
   

namc(s) is/arc subscribed to the within in
capacity(ies), and that by his/hcr/their signal
executed the instrument

Wl’I`NESS my hand and official seal.

Sigriaiurc: w g (Seal)

My commission expires: '_ ___

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AcKNowi.EoGMENT ‘

State of California
County of Ventura )

 

on<S`tp~\d` Zlo, 2013 before mel Frank Michae| Hoff, Notary Public
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personally appeared ' Ch\’i$loi)her Santana ,
who proved to me on the basis of satisfactory evidence to be the person(s) whose name(s) is/are
subscribed to the within instrument and acknowledged to me that he/she/lhey executed the same in
his/her/their authorized capacity(ies), and that by his/herltheir signature(s) on the instrument the
person(s), or the entity upon behalf of which the person(s) acted, executed the instrument

t certify under PENALTY OF PERJURY under the laws of the State of Californla that the foregoing
paragraph is true and corre_ct.

FRANK MlCHAEL HOFF

WlTNESS my hand and official seat z gommr,,m ¢192255¢
" 2 ;:'r' notary public - caiiiomia

1 } Lm Angeles County
" M Comm, Fxplres Jan ?1.7015

 

Signature (Seal)

 

 

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of the Registrar-Racordcr!£:ouni\/ Cieri< 7

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COUNTY. CALlFORNlA

   

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SERNA VS NDEX WEST, LLC

 

 

 

Case 2:14-cv-O4985-SVW-l§®/V Document 1 Filed 06/26/14 \"ljage 34 of 87 Page lD #:34

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K_arla Ruiz

From: ' Karla Ruiz <Karla@jackharriman.com>

Sent: Monday, May 07, 2012 10:02 AM

To: _ ‘Xochitl Serna'

Cc_: nova@jackharriman.com; Brittany Jones (Brittany@jackharriman.com)

Subject: Loan Modification Needed items - Ruben Sema

Attachments: LOAN MODIFICATION CHECK LlST.pdf; SKMBT_C35312050709000.pdf;
SKMBT_CS$St2050709030.pdf

Heilo Xochitl,

Thank you for your prompt response |just got your dads signed letter. P|ease advise him the he request has been taxed
tothe'lender. ' " ' " " ' " " ' ' ' ' '

There are a few items we will need from your dad to start the loan modification process. Please see attached:

 

1. Loan Modification Checklist
2. Penny ivlac needed documentation - Doesn’t have to be filled out. Please just sign

3. Household Expenses & Credit Card Expenses~ Please complete this form
Please contact me if you have any questions on the above needed items.

Thank you so much,

Karla S. Vasqucz
'l`ransaction Coordinator/Loan Proccssor
Jack Harriman and Associa.tcs
216 Wcst I"ooi.hill Blvd.
Monrovia, CA 91016
Main: 626.256.8888
".1"ax: 626.263'5185

 

CONF|DENTiALlTY NOTlCE: This communication and any documents attached constitute an electronic communication
Within the scope of the Electronic Communication Privacy Act, 18 USCA 2510. This communication may contain non-
public, conndential, or legally privileged information intended for the sole use ofthe designated recipient(s). The
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part or whole in any manner including, but not limited to electronic, film media, or print. The contents must not be at
anytime in part or whole used as a basis or any financial transaction of any kind. Neither this small nor any emai| from
lack Harriman and Associates shall constitute an agreement to any terms, solicitation, approval, denial or contract

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Maln! 626-256-8888

Fax 626'256-8887

Jack Harriman and Associates
216 We$l.' FOOth||l Blvd. _
Monrovia, cA 91016 “~»

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j

Loan Administration

P.D.Box 514387

P M o Los Angeles, CA 90051»4387
enny ac ingram
pennyMa< Loan Scrviu‘s. LLC fGX (856) 577'7205
Www.pennvmacusa»c°m

Third Party Authorization Request Form
In order to release your confidential account information to the individual(s) or company
you are authorizing, the below information must be completed and returned to our contact
information above. Once received, please allow 24 hours for processing.

Borrower Information:

Namc: .Q~Ub@lq §€{i/i@\

Account Numl}er: l 0 00 03 OR i 0
/./

Signatutc: r

 

Authortzed Party lnformation

 
        

        

Address: '7/i

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*‘I'his authorization will remain on your account Shoul`d you wish to revoke this
authorization, please submit your request in writing to our contact information above. *

This is an attempt to collect a debt and any Information obtained wIIl be used for that purpose

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~ _ Loan Admtnlstratlon
(` P.o.aox 514337

§ M o Los Ange|es, CA 90051-4387

_ en ny ac lacey sas-sava

v¢nnyma¢ Loan s¢,v.m., itc fox (866) 577-7105
www.pennymacusa.com

Thlrd Party Authorization Request Form
ln order to release your confidential account information to the individual(s) or company

you are authorizing, the below information must be completed and returned to our contact
information above. Onoe received, please allow 24 hours for processing.

Borrower lnl`ormation:

Narne: .Q*Ub€\"i §€{n@\
AccountNumlger. 10 OOOSOR l0

 

 

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Signature: 4 f /'( -.»/a_._
Authdrized Party Information

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*This authorization will remain on your account Should you wish to revoke this
authorization, please submit your request in writing to our contact information above.*

This is an attempt to collect a debt and any information obtained will be used far that purposel

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Loan Admlnlstratlon

` P.o.uox 514337

P WM l_os Angeles, CA 90051-4387
enn ace (866] 54$‘9070
Prm\yMar Loan Sycvv ms. LLC fox (855] 577.7205

WWW.DE"¥WmBCUSa.CQm

Third Party Authorization Request Form

ln order to release your confidential account information to the individual(s) or company
you are authorizing, the below information must be completed and returned to our contact

information above. Once received, please allow 24 hours for processing.

Borrower lnformation:
Name: Q~Ul)€\fl §C(n@\

AccountNuml}er: lo OOOBOR lo
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Signamre: r

 

Authorized Party Informatlon

 

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*This authorization will remain on your account Should you wish to revoke this
authori zation, please submit your request in writing to our contact information above *

This is an attempt to collect a debt and any information obtained will be used far that purpose.

 

 

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' , Loan Adminlstratian
P.O.Box 514387

C'§ M ® Los Angeles, CA 90051-4387
'~"- _ enny ac i866) 545-9070
F'cnnyMac Loan Snrvices. LLC j01(856)577-7205

www»pennymacuSa-Com

Third Party Authorization Request Form`
In order to release your confidential account information to the individual(s) or company
you are authorizing, the below information must be completed and returned to our contact
information above. Once received, please allow 24 hours for processiug.

Borrower Informatlon:

Name: illnan §€{n(?\

Account Numher: l 0 0 0 0 77 OR l 0
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Signatme: _ 1

 

Authorized Party information

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*This authorization will remain on your account Should you wish to revoke this
authorization please submit your request in writing to our contact information above.*

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Borrower Name: Ruben Sema éCL\-Q, M{/~Q) \ 5
Property Address: 1510 S. New Hampshire Ave, Los Angeles, CA 900061
Borrower contact #: 213-700-8650 §§ }/LD \ t l

': 18-425-4059 1

   
     
     

Lender Name: Penny IV|ac
Loan Number: 1_000930810

Lender Number: ”6(¢9\,? 514 51 °i,(:>~i©

  

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SERNA VS NDEX WEST, LLC

 

 

 

Case 2:14-cv-O4985-SVW~(\153)/V Document 1 Filed 06/26/14 '/Page 42 of 87 Page |D #:42

15000 Surveyor Blvd.
Addison, TX 75001
Phone: 866-795-1852

a /.M “~-~ ~~-\ ____ Fax: 972-661~7800
/\/©g>< LLC MAY be 4(,%;;/;

A§ /+ debt _CO//e€%@ /< `
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EXPEH|EHCEi SERV!CE 1 RESULTS

  
 
 
 

   

June 5, 2013

Ruben Serna
1510 S. Nevv Hampshire Avenue
Los Angeles, CA' 90006

Re: Mongagor: Ruben Sema
Loan Number: 1000030810
Ti'ustee Sale Number: 2013020220()039
Property Address: 1510 S. New Hampshire Avenue

Los Angeles, CA 90006
Dear 1\/11‘. Sema:

We a1e in leceipt of y0u1 cor1e_spondence 1ega1ding, the verification o1` you1 debt With
Pennymac Loan Se1vices, LLC. Please fmd enclosed an executed Deed 01 1".1ust Assignment
and P10n11sso1y Note Which Will se1ve as p1oof 01 the validity of the debt Please note that the
name and addxess 01 the o1iginal c1ed1t01 can be tound on the Deed of 11ust

11 you would like to Speak With someone about payment options, you may contact the
Loss l\/Iitigation Department at (866) 695-4122. If you have any further questions, please do not
hesitate to contact this office

 

 

 

Sincerely,

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"\d/’j ' V\,/' h LLVM\
Cheryl Asher

General Counsel

Enclosures
CA/rp.

 

 

 

 

   

`_`_`"`*`-~"
The Fair Debt Collection Act requires that we advise you that NDeX, LLC, may be act_in_g_ M; )

as a debt collectgr, attempting to collect a debt. Any information obtained Will be used for ~
hat purpose. `”

 
    

 

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Case 2:14-cv-O4985-SVW{F531/V Document 1 Filed 06/26/14 §Page 43 of 87 Page |D #:43

15000 Surveyor Blvd.
Addison, TX 75 001
Phone: 866-795-1852
Fax: 972-661-7800

 

numerical -ssnvlcc | 115-suits

December 4, 2013

Ruben Serna and Candida Serna
1510 S. New Har_npshire Avenue

 

Los Angeles, CA 90006
ii ml£e: M ~L:Io;'t:<ga;go;` 1 _ mw w 1 Ruben Serna and Eandida Serna 1 d 1
Loan Number: . 1000030810
' Trustee Sale Number: 20130202200039
Property Address: 1510 S. New Harnpshire Avenue

Los Angeles, CA 90006

Dear Mr. and Mrs. Serna:

We are in receipt of your correspondence, regarding your request for loss mitigation However,

these requests are not handled by our office Loss mitigation requests should be sent directly to
` your client’s loan servicer rather than to NDeX. We are only authorized to cancel or postpone
. our scheduled sale at Pennyrnac Loan Services, LLC’s request §§

   

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f§ :l// - f »' "
If you Would like to speak with someone about payment options, you may cori':act theiii Loss

Mitigation Departrnent at (866) 695- 4122.

If you have any further questions please do not hesitate to contact this office.

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' Sincerely, /1/§, ' nw 1 mci

         

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THE FAIR DEBT COI:LECTION ACT KEWQUIRES ..THA'_I` WE ADVISE YOU THAT
NDEX LL`C,`{MAY BE¢VA_CTING?AS A‘ DEBT QOLLECTOR, ATTEMPTING TO

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PURPOSE

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GX WEST, L.L.C.

15000 Surveyor Boulevard
Suite 500
Addison, TX 75001-9013 4

   
      

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20130202200039

RUBEN SERNA
1510 S NEW HAMPSH|RE AVE
LOS ANGELES. CA 90006

IMP()RTANT INFORMATION IS C()NTAINED
WITHIN THE ATTACHED NOTICE.

 

 

 

PLEASE READ CAREFULLY l

 

 

/ w"`\`\-_`\_

NDEX WEST, L.L.C. MAY BE A DEBT CoLLECToR \> -\
ATTEMPTING To COLLECT A DEBT. ANY
INFoRMATIoN oBTAINEl) WILL BE USED FoR THAT

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NDE\ West, L. L. C. \_ _,__,,._.,_g_.-`_`

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15000 Surveyor Boulevard, Suite 500
Addison, Texas 75001-9013

Teiephone: (866) 795-1852
W; (972) 661-7800

Apri124, 2013

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RUBEN SERNA

1510 S .\'E\V HA.\IPSHIRE AVE

LOS ANGELES. CA 90006

Re: Loan No.: 1000030810
TS No.: 20130202200039

_..._`_____,.._~__._M~_.W _____,_MWM _`_
real property loan. The current creditor to w77hom the Debt is owed is REI\'NYMAC77CORP.. The loan is77 beina serviced 7bv
PE\'\'Y \IAC LOAN SERVICES, LLC,

/'_~"_,~____*/._~______-I-`
/\Ye/_llale`l§en advised by our client that the amount of the debt as of the date of this Notice according to the records of our client i

5233,524.40. Because of interest late charges', and other charges that may vary from day to day, the amount due on the day you pa
ma If you pay the amount shown above, an adjustment may be necessary after we receive your check, in which case \\
will inform you before depositing the check for collection. For further information, write the undersigned or call (866) 795-1852.

      
 

PLEASE BE ADVISED THAT NDEX MAY BE CONSIDERED A DEBT COLLECTOR ATTE.\IPTING TO COLLECT THE
ABOVE REFERENCED DEBT. A\'Y I\TORNL\TION OBTAINED FRO\I YOU WILL BE USED FOR THAT PURPOSE.

 

 

 

Unless, within thirty days after you receive this letter you dispute the validitv of the Debt or any part of it NDEX will assume that the
debt is valid. If you notify NDE\ in writing within that same thirty-day period that the debt or any portion thereof, is disputed NDEX
will obtain verification of the Debt or a copy of a judgment, if any, and a copy of such verification or judgment will be mailed to you
Upon your written request within that same thirty-day period NDEX will fumish you with the name and address of the original creditor,
if the original creditor is different from the current creditor.

The law does not require NDEX to wait until the end of the thirty-day period before tal\ln:jt_c_tion~to collect this debt If, how,ever you
request proof of the debt or the name and address of Ue original creditor within thirty days of receipt of this letter, the law requires
NDEX to suspend its efforts (through litigation or otherwise) to collect the debt. even if we have already initiated foreclosure

proceedings, until we mail you the information validating the debt and/or until we provide you with the name and address of the

 

original creditor.

The California Rosenthal Fair Debt Collection Practices Act and the Federal Fair Debt Collection Practices Act require that, except
under unusual circumstances, collectors may not contact you before 8 a.m. or after 9p.m. They may not harass you by using threats o
violence or arrest or by using obscene language Collectors may not use false or misleading statements Or call you at work if they knov
that you may not receive personal calls at work. For the most part, collectors may not tell another person, other than your attorney 0
spouse, about your debt. Collectors may contact another person to confirm your location or enforce a judgment For more inforrnatior
about debt collection activities, you may contact the Federal Trade Commission at 1-877-FTC-HELP or \vwi.itc.gov.

If you are not obligated on the Debt, or if the Debt has been discharged in a bankruptcy proceeding, this letter is not an
attempt to impose personal liability upon you for payment of that debt. In the event you have received a bankruptcy
discharge, any action to enforce the debt will be taken against the property only. You are being given this notice as a courtesy
because your interest in the property loan may be affected.

Sincerely,

SS?"

Chris Baca
NDEX West, L.L.C.

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Case 2141:1/1914985_- §VW-Pj)/V Document 1 Fi|eo| 06/26/14 ~P§ge 46 of 87 Page lD #:46
// \'\ \ `
/ Ni)ex WEST, L. L. C. \.

15000 Surveyor Boulevard

suite 500 " `
Add , TX 75001-9013 US POSTAGE M
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RuBEN sERNA ` \
1510 S NEW HAMPSH!RE AVE \,
\ Los ANGELES, CA 90006 /
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IMPORTANT INFORMATION IS CONTAINED
WITHIN THE ATTACHED NOTICE.

 

 

' PLEASE READ CAREFULLY

 

 

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/NDEX WEST, L. L. C. MAY BE A _DEB1 COLLECTGR

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ATTEMPTING TO COLLECT A DEBT. ANY

INFORMATION OBTAINED WILL BE USED FOR THAT /
PURPOSE.

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al Los Angeles . County Recorder

Recording requested byi v 201405701 18 ' 06/03/2014
STEWART TITLE OF CAL'F°RN'A’ INC' has not been compared with original.

When Recordcd Mail To: . _ . _
NDEX w¢sr, L.L.c. Original will be returned when process

15000 Survcyor Boulevard, Suitc 500 has z_":hen complete d`
Addison. 'I`exas 75001-9013
(866) 79541852

APN #: 5075-002-013

Property Address:

1510 S NEW HAMPSH!RE AVE

LOS ANGELES, CALIFORNIA 90006

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Fee: 25.00 DTT 0.00 Total 25.00

 

 

 

Sptice aborve¢tliis¢line I`or Rccorder's‘ use only
Trustee Sale No. : 20130202200039 'I“itle Order No.: 01180-32378 FHA/VA/PMI No.: 0
NOTICE OF TRUSTEE'S SALE

A! !ENTION REQORDER: THE FOLLOWING REFERENCE TO AN ATTACHED SUMMARY APPL]ES
ONL\' TO COPIES PROVIDED TO THE TRUSTOR` NOT TO THIS RECGRDED ORIGINAL NOTICE.

NQTE: THERF. is A suMMARv oF THE lNFoRMATloN m THIS oocuMENT ArrAcHEo
a : rides-ronan
alston a asst tenor 1512 gewin stroud
NoTA: sE AoJuNTA uN REsuMEN DE LA 1NF0RMAcloN ne ESTE oocuMEN'ro
'rALA: MAYRooNG Buon NG lMPoRMAsYoN sA ooKuMEN'roNG no NA NAKALAK|P
Lu'u \'r: KEM THEo BAY L.A BAN TRiNH BAY ToM Lu’oc vE THONG TIN TRbNG 'rA\
Lleu NAY

YOU ARE IN DEFAULT UNDER A DEED OF TRUST, DATED 07/17/2009. UNLESS YOU TAKE ACTION
TO PROTECT YOUR PROPER'I'\’, IT MAY BE SOLD AT A PUBLIC SALE. IF YOU NEED AN
EXPLANATION OF THE NATURE OF TH_E PROCEEDI.NG AGAINST YCU, YOU SHOULD CONTACT A
LAWYER.

NDEX West, L.L.C., as duly appointed Trustee under and pursuant to Deed of Trust Recorded on 07/28/2009 as

lnstrument No. 20091150891 of official records in the office of the County Recorder of LOS ANGELES County.

State of CALIFORNIA.

EXECUTED BY: RUBEN sERNA,

\/VILL SELL AT PUBLlC AUC'I`ION TO HIGHEST BIDDER FOR CASH. CASHIER'S CHECK/CASl-l

EQUIVALENT or other form of payment authorized by California Civil Code 2924h(b). (payable at time of sale in

lawful money 01` the United States).

DATE OF SALE: 06/30/2014 TIME OF SA LE: 10:00 AM

PLACE OF SALE: BEH]ND THE FOUNTAIN LOCATED IN CIVIC CENTER PLAZA, 400 CiViC
CENTER PLAZA, POMONA CA.

STREET ADDRESS and other common designation, if any, of the real property described above is purported to be:
1510 S NEW HAMPSHIRE AVE, LOS ANGELES, CALIFORNIA 90006

APN#: 5075-002~013

The undersigned Trustee disclaims any liability for any incorrectness of the street address and other common
designation if any, shown herein. Said sale will be made. but without covenant or warranty. expressed or implicd.

regarding title, possession or encumbrances to pay the remaining principal sum of the note(s) secured by said Deed of
FCUS_NoticeOlTn\stccSule.\-pt - Record - 05/29/2013 - \'cr*}€ Pngc 1 nf z

 

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Case 2:14-cv-O4985-SVW-F.`])/V Document 1 Filed 06/26/14 5"|5§@€ 48 01 87 Page |D #:48

T trustee Sa|e No. : 20130202200039 Title Order No.: 01]80~32378 1 HHiWA!Pl\'fl No.: 0

 

Tmst, with interest thereon, as provided in said note(s), advances, under the terms o'f said Deed ol` Trust, fees, charges
and expenses of the Trustee and of the trusts created by said Deed of Trust. The total amount of the unpaid balance of
the obligation secured by the property to be sold and reasonable estimated costs, expenses and advances at the time 01
the initial publication of the Notice of Sale is 3254,772.41. The beneficiary under said Deed of Trust heretofore
executed and delivered to the undersigned a written Declaration of Defuult and Demand for Sale, and a written Notice
of Default and E]ection to Sell. The undersigned caused said Notice of Default and Election to Sell to be recorded in the
county Where the real property is located

NOTICE TO POTENTIAL BIDDERS: If you are considering bidding on this property lien, you should understand
that there are risks involved in bidding at a trustee auction. You will be bidding on a lien, not on the property itself
Placing the highest bid at a trustee auction does not automatically entitle you to free and clear ownership of the
property. You should also be aware that the lien being~auctioned o£f~may~'be' aejunior¥lien.hlf you rare tbe'highest bidder at
the auction, you are or may be responsible for paying off all liens senior to the lien being auctioned ofi’, before you can
receive clear title to the property You are encouraged to investigate the existence, priority, and size of outstanding liens
that may exist on this property by contacting the county recorders office or a title insurance company, either of which
may charge you a fee for this information ll’ you consult either of these resources, you should be aware that the same
lender may hold more than one mortgage or deed of trust on the property.

NOTICE TO PROPERTY OWNER: The sale date shown on this notice of sale may be postponed one or more times
by the mortgagee, beneficiary, trustee, or a court, pursuant to Section 2924g of the Califomia Civil Code. The law
requires that information about trustee sale postponements be made available to you and to the public, as a courtesy to
those not present at the sale. If you wish to learn whether your sale date has been postponed, and, if applicable, the
rescheduled time and date for the sale of this property, you may call 916-939-0772 for information regarding the
nustee's sale or visit this lnternet Web site www.nationwideposting.com for information regarding the sale of this
property, using the file number assigned to this case 20130202200039. Information about postponements that are very
short in duration or that occur close in time to the scheduled sale may not immediately be reflected in the telephone
information or on the internet Web site. The best way to verify postponement information is to attend the scheduled

sale.

/ m ..~_». _.~`.….`A..i

FOR TRUSTEE SALE INFORMATION PLEASE CALL: //
NATIONWIDE POSTING & PUBLICATION A DIVISION
OF FIRST AMERICAN TITLE lNSURANCE COMPANY
5005 WINDPLAY DRIVE, SUITE 1

EL DORADO HILLS, CA 95762-9334

'Ex west L.L.c. MAY BE ACTIN
DEBT coLanroR ATTEMPTtNG To

...~,._,~_._.._.W..

coLLECT` A DEBT. ANY rNFoRMATIoN

  
  
 

\URPOSE. /
\ ,. ~' 1154

 

Datcd: 05/30/2014

 

BY Muare`z" _. séo€iaié D`ector

FCUS_NoticeOi'l`t'usteeSale.rpt - Record - 05/29/20|3 - \’cr-SS Pagc 2 nl' 2

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Case 2:14-cv-O4985-SVW-i5ij Document 1 Filed 06/26/14 'Pa)ge 49 of 87 Page lD #:49

NOT|CE OF SALE
SUMMARY OF KEY lNFORMATION

The attached notice of sale was sent to _RUBEN SERNA , in relation
(trustor)
to 1510 S NEW HAMPSHlRE AVE. LOS ANGELES, CAL|FORNlA 90006 .
(description of property that secures the mortgage or deed of trust in defau|t.)

YOU ARE lN DEFAULT UNDER A DEED OF TRUST DATED 07/17/2009.
(deed of trust or mortgage) (date)
UNLESS YOU TAKE ACT|ON TO PROTECT YOUR PROPERTY, lT MAY BE SOLD AT A PUBLlC SALE.

|F YOU NEED AN EXPLANAT|ON OF THE NATURE OF THE PROCEED|NG AGA|NST YOU, YOU
SHOULD CONTACT A LAWYER.
The total amount due in the notice ofrsaleisr_§254,77é.4t n 7 v n
(total amount due)

Your property is scheduled to be sold on _06/30/2014 at 10:00 AM
(date and time of sale)
at BEH|ND THE FOUNTA|N LOCATED lN ClVlC CENTER PLAZA, 400 ClV|C CENTER PLAZA,
POMONA QA .

(location of sale)

However, the sale date shown on the attached notice of sale may be postponed one or more times by
the mortgagee, beneficiary, trustee, or a court, pursuant to Section 29249 of the California Civil Code. The
law requires that information about trustee sale postponements be made available to you and to the public,
as a courtesy to those not present at the sale. if you wish to learn whether your sale date has been
postponed, and, if applicab|e, the rescheduled time and date for the sale of this property, you may call __L§

-939-0772
(telephone number for information regarding the trustee's sale)

or visit this lnternet Web site address www,nationwidepostinq.com ,
(lnternet website address for information regarding the sale of this property)
using the tile number assigned to this case _20130202200039 information
(case tile number)
about postponements that are very short in duration or that occur close in time to the scheduled sale may
not immediately be reflected in the telephone information or on the lnternet Web site. The best way to
verify postponement information is to attend the scheduled sale,

lf you would like additional copies of this summary, you may obtain them by calling __916-939-0772
(telephone number)

 

Civi| Code Section 2923.3(d)(2) Revised 3/28/13)

Case 2:14-cv-O4985-SVW~F:j)/V Document 1 Filed 06/26/14 'P'e)ge 50 of 87 Page |D #:50

P.O.Box 514387

Los Ange|es, CA 90051-4387
(866) 545-9070
fax (866) 577-7205
NN|LS # 35953

     
     
 
 
 

_ >~

Peh nyMac“°

tune 20, 2014 '

 
 

 

Ruben Serna
1510 S. New Hampshire Ave
Los Angeles, CA 90006

‘-H'M_/_',,,/'
Loan Nurnber: 1000030810
Property Address: 1510 S. New Harnpshire Ave

Los Arrgeles, CA 90006

Dear Ruben Serna:

Pennyl\/lac Loan Services, LLC (“Pennyl\/lac”), has carefully reviewed the correspondence dated
May 5, 2014, June 9, June lO, and June l2, 2014, regarding the above referenced loan.

Please be advised that the terms and provisions in your loan documents remain unchanged and in
force. PennyMac will continue to service the loan in accordance with the valid, binding loan
documents that you signed.

PennyMac must respectfully decline the “Proof of Claim ” that you enclosed with your
correspondence with your request to close and discharge this loan, Said documents will not fully
satisfy your obligation under the terms of the Deed of Trust and Note for the loan, and is not an
acceptable form of payment or an allowable transfer of property, as described under the Deed of
T rust and the`Note for the above-referenced loan obligation PennyMac will not accept or honor

the “P)'oqufCIaim. ”

PennyMac does not recognize your proposed process as legitimate under the terms of the note
and the laws of the State of California or the United States.

Enclosed are copies of documents we relied upon in reaching our decision/conclusion including
the Note, Deed of Trust, Notification of Assignment of Mortgage/Deed of Trust, Truth in

d Lending, Notice of Assignment, Sale of Transfer of your Mortgage Loan, Welconre Letter,
Payoff Statement good through June 27, 2014, and Customer Account Activity Staternent since
PennyMac has been servicing the loan, Please note that this statement provides pertinent
information on payments received, tax and insurance payments disburse from the escrow account,
and late charges assessed and paid,

 

 

Any documents or requested information not provided in this letter is due to your request being
overbroad, irrelevant, or unduly burdensome request for information, or are considered to be

confrdential, proprietary or privileged information of Pennyl\/lac.

 
   
  

Review of your account confirmed Los Mitigation solicitations were mailed to you informed you
to contact PennyMac to speak with one of our Loan Specialists to discuss whether you would be

`*~'~`
,;.A-'
/ This communication is from a debt collector, Howev , if your account is subject to pending bankruptcy proceedings or you havc~'
received a discharge in bankruptcy, tln§”s`"t"éi`te`ment is for i formation purposes only and is not an attempt to collect a debt against you
. personally

 
 
 

Case 2:14-cv-O4985-SVW-t\5ij Document 1 Filed 06/26/14 ;P*ajge 51 of 87 Page |D #:51

P.O.Box 514387
Los Angeles, CA 90051-4387

PennyMac°’ .. assign

fox (866) 577-7205
NMLS # 35953

Page 2 .
Loan Number: 1000030810
Ruben Serna

eligible for one of our mortgage assistance programs or foreclosure alternatives Please note we
did not receive the information necessary to begin a loss mitigation application Enclosed please
find copies of the modification solicitations for your review.

As you were previously advised, your loan was referred to foreclosure counsel on or about March
25, 2013. A foreclosure sale date iscurrently scheduled for Monday, June 30, 2014. 7

Lastly, please allow me to confirm that A.O.E. Law and Associates is not an authorized third
party in our records.

Thank you for allowing me the opportunity to be of service. l trust this letter sufficiently
addresses your concerns. In providing the above response, PennyMac is not limiting or waiving
any rights or remedies it may now or hereafter have, whether arising under the loan documents, at
law or in equity, all of which rights and remedies are expressly reserved

Sincerely,

 

Claudia De Leon
Research Departrnent
PennyMac Loan Services, LLC

 
   

This communication is from a debt collector. Ho\ ver, il` your account is subject to pending bankruptcy proceedings or you lra\'c
receive a rs 1a rn an ruptcy. this statement is r information purposes only and rs not an attempt to collect a debt agarnst you_.
personally

    

Pehnyl\/lac°°

Jurre 20. 2014 PAYOFF STATEMENT

Loan l\'urnber: 1000030810

Case 2:14-cv-04935-sz-F'Jyv Documenr 1 Filed 06/26/14 y'F>age 52 0187 Page lD #:52

P,O.BOX 514387

Los Angeles, CA 90051-4387
4(800) 777-4001

fox (818) 264-4505

VERI!"ICATION OF I’AYOI"F FIGURES IS REQUIRED PRIOR TO PAY()I"F. HOLD $0.00 FOR 30 DAYS TO
ALLOW CLEARANCE OF THE LAST PAYMENT RECEIVED IF PAYMENT POSTED WITHIN 15 BUS!NESS
DAYS FRO§\I THE PAYOFF STATEMENT DATE OR PROVIDE PROOF OF PAYMENT CLEARAN`CE AT
TIME PAYOFF FUNDS ARE SUBMITTED. IF THIS OBLIGA'I`ION lS NOT PAID IN FULL BY THIS DATE.
THEN YOU SHOULD OBTAIN FROI\'I US AN UPDATED PAYOI"F AMOUNT BEFORE CLOSING.

Figures as of:
LoanlsDneFor: w ' f ~ ~ *'
Current Interest Rate:

Per Diern Inter'est Arnount as of 06-27-14;

PAYOFF BREAK_DOWN:
Current Principal Balarrce:
Irrterest Due as of 06»27~14:
Pro Rata Mle

Assessed Unpaid Late I~`ees:
Assessed Urrpaid NSF Fees:
Escrow Advance:
Foreclosure Fees:
’1"?"Foreclosure Fees:
*‘*Foreclosur'e Costs:
Foreclosnre Costs:

Property Preser\'ation:
7l‘Propert_y Preservation
BPO/Appraisal:
’l"*BPO/Appraisal:
Bankrnptcy Fees:

Recording Fee:

Release Cost:

Total Pa_vof`f Amount as of 06-27-14:

06-27-14
~~12:22-09~ 7 w ~

8.19700%
539.06

Sl 7 l ,560.28
564.649.8()
S.OO

572.81

S.O()
58.133.96
52,385.00
5840.00
5425.64
55,146.67
5444.00
5.00
5463.()()
S,OO
Sl,60().()0
533.50

Sl l .50
$255,766.16

*Prepa_yment penalties are subject to clrange, based on the terms of the Note,

  

**Prior Servieer Corporate Advance Balance

INSTRUCTIONS TO ESCROW: _
l. A late fee in the amount of $72.81 may be added after the 16"" of the month.
7 Funds MUST be sent via wire transfer. cashiers check or title checks only.

1..

Wiring Instructions: A\Iail or Overniglrt lnstructions:
PennyMac Loan Servicing LLC Pennyl\'lac Loan Servicing LLC
ABA #026009593 6101 Condor Drive

Credit: 1235983182 .\'Ioorpark, CA 93021

Loan # 1000030810 Attention: Pa_\`ot`f Department

Attention: Pa_voff Departnrent
To avoid any additional interest charges, funds MUST be received no later than 12:00 PM, PST.

  

PennyMac Loan Services, LLC is attempting to collect a debt and a y information obtained will be used for that >

purpose. If you received a discharge rn banErupfcy, Penn_\“'¥lac shal only exercise its rights against the property

and shall not attempt to collect the debt from you personally / //

W /_ M / few __,,
`_‘"°~`-`____`"_~M- “'¢ "-”"~"M,..

 

Case 2:14-cv-O4985-SVW+\P'j}/V Document 1 Filed 06/26/14 'P"etge 53 of 87 Page |D #:53

P.O.BOX 514387
Los Angeles, CA 90051-4387

Pennylvlaco tacoma

fox (818) 264-4505

June 20, 2014 PAYOFF STATEMENT

Sent to:

Rtrbeir Serna

1510 S Ne\v Hampshir'e Ave
Los Angeles CA 90006-4512

Loan Int`ornration

LoanNuntber: 1000030810

Borrower: Rubeti Serna

Property Address: 1510 S New Hainpshire `Ave

' " ' ' Los Angeles'CAQOOO€)"~¢lSlZ" "* " ' " """

PennyMae Loan Servicing LLC ("PennyMac") reserves the right to correct any portion of this Payot`f Statement at atty
tiine, and all figures shall be subject to final verification by Pennyi\iac. Figures may be adjusted it'any previous payment
received is rejected by the institution on which it is dra\\'n. and borrower/issuer of any returned item shall remain liable for
said debt. ln such event, this PayoffStatement shall be deemed invalid and a nc\\' PayoffStatement must be obtained from
PennyMae to reflect the correct amount due and owing

l-’enrryMac further reserves the right to demand additional funds before or subsequent to the release of its security interest in
the property to correct any error or omission in these figures made in good faith.

lf the funds received is less than what is required to satisfy the loan in 1`ull. Pennylvlac reserves the right to return the funds
with an updated PayoffStatement. Please note that the security interest will not be released and interest will continue to
accrue at the per diem rate until the loan is paid in full.

lNFORMATlOl\' ABOU'l` TOTAl. DUE
To provide you with the convenience of an extended Good»Tln'ouglr date, the ’l`otal Amount Due may include anticipated or

projected fees and costs. additional payments and/or escrow disbursements that will become due prior to the Good-Through
date. but which are not yet due as of the date this Payoft` Staternent is issued

ADDlTlOI\'AL 11\'FORMA'1'101\'
The amount indicated in this Staternent is subject to change for various reasons including but not limited to the i`ollowing:

¢ We may have posted a recently submitted payment (Please do not place a stop payment on any clieck)

' A fee may be assessed if a payment is returned unpaid by your financial institution for atty reason

° Addilional or anticipated fees and costs riray be incurred during the Good~Through date relating to collectioii.
foreclosure barrkrtlptcy. or other defaults on your loan

v Adjustments may be required to reflect disbursements made by. or payments owed to. your prior lender if the
servicing of your loan was recently transferred to PennyMac.

It` you are set up on Automated Clearing House (ACH) you may cancel by sending us a written notice at least 15 days prior
to your next due date. Alternatively. you must cancel the ACI~I service by calling (SOD) 777-4001and speaking to a Loan
Speeialist at least 3 business days prior to your scheduled payment date in order to avoid a draft from occurring prior to

payoff .

Sltould you have any questions. please contact our Loan Specialist at 1~80()-777-401)1. Monday through Friday. between
_7:00 A.M. to 6:00 P.M. PST. 7:00AM to ll:OOAM PST on Saturday.

diiet/ey ith iv Ci//_€ cf /t 46£7

_§=\_-',__T_ N"__

 

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`\ \"""\
Penn_vMac Loan Services, LLC is attempting to collect a debt anghy`sy information obtained will be used for that
purpose. ll` you received a discharge in BanlEruptcy, Penn_vMa/c all oirl_\' exercise its rights against the property

shall not attempt to collecf*l¢hM‘glL£QB.RE’-fsenallyf j

03192013/1 ' /

 
  
  
 

Case 2:14-cv-O4985-SVW-€j)/V Document 1 Filed 06/26/14 P`€zge 54 of 87 Page |D #:54

P.o.eox 514387
Los Ange'ies, cA 90051-4387

(866) 545-9070

-~”~\\\ _ fox tase) 577-7205

Pei"tnylvlac‘°

March 3_. 2014

     
  

 
   
  
 
 
 
  
   
   
   
    
    
  
  
   
   
 
  
 
 
 
    

Ruben Serna
1510 S New Hanipshire Ave
Los Angeles, CA 90006

 

Loan Numbers: _ 1000030810
Property Address; 1510 S New Hampshire Ave
LOS Angeles, CA 90006

Dear Ruben Sema:

This letter is in response to correspondence received Febr'uar'y 10, 2014, and February l5, 2014, (the
“Letter"), which was sent to PennyMac Loan Sei'vices, LLC (“Pennylvlac").

Please be assured, our records do reflect the active Chapter 7 Barrkruptcy on your account; therefore,

this letter is for informational purposes only and not an attempt to collect a debt against you
personallyl

As you may be aware, a QWR under 12 U.S.C. §2605(€)(1)(B) is a written correspondence which
includes a statement of specific reasons why you believe the account is in error and which provides
sufficient detail to allow the servicer of the loan to review the account to determine whether there
were errors made in connection with the account, and to either make appropriate corrections where
errors were made or to explain to you why the servicer believes the account is accurate.

A QWR is not a vehicle for a consumer to Obtain confidential information concerning the lender’s
business practices, its relationship with government sponsored entities, its mortgage servicing and
accounting computer systems, trade secrets or other proprietary information.

You are further advised that PennyMac, its officers, employees, agents, investors, and vendors, do not
Conser'rt or Agree to your purported, unenforceable and invalid correspondence and “ProoquC/aim ”
and "Defaull of Provisions. ” Your demands and/or offer in terms are hereby rejected in their entirety,
and are not otherwise acknowledged or considered legitimate or lawhil. PennyMac does nor
recognize your proposed process as legitimate under the terms of the note and the`laws of the State of
California or the United States. You are further reminded that the obligations under the terms of the
duly executed Note and Mortgage are binding, valid and fully enforceable at law.

The servicing of your mortgage loan transferred from CitiMortgage to PennyMac Loan Services, LLC
effective .lanuary 14, 201], with a payment due of Decetnber 22, 2009. A thorough review of the
information provided by CitiMortgage confirms the transferred due date was accurate Please be
aware that the terms and provisions of the loan documents that you signed remain unchanged and in
full effect and PennyMac will continue to service the loan in accordance with the valid binding loan
documents

 

received a discharge in bankruptcy. this statement is ir information purposes only and is not an attempt to collect a debt against you _~

\\.
This communication is from a debt collector.li):vcr. if your account is subject to pending bankruptcy proceedings or you have
personally ,//

 

Case 2:14-cv-O4985-SVW<PM Document 1 Filed 06/26/14 =P`age 55 of 87 Page |D #:55

p.o.so>< 514387
Los Ang'éles, cA 900514387

PennyMac‘° (866,5…0

fox (866) 577-7205

Page 2
Loan Number: 1000030810
Ruben Serna

The owner/investor for the above referenced loan is PennyMac Corp., whose address is 6101 Condor
Drive, Suite 300, Moorpark, CA 9302]. However, at their request all loan inquires should be directed
to the current loan servicer, PennyMac Loan Services, LLC, Gur contact information is as follows:

' Payment'A'ddress s ""* n'"(;`orre'sp'on'den'c'c:j*¥ddt‘ess'' "*'"*
P.O. Box 30597 P.O. Box 514387
Los Angeles, CA 9005l Los Angeles, CA 9005l

Fax # 866-577-7205

Our records coni`mn the loan was referred to foreclosure on or about March 25, 20]3. Pennyl\/lac
processes all foreclosures in accordance to State and Federal Law. As of the date of this letter, a sale

date has not been scheduled for the above subject property.

Any documents or requested information not provided in this letter is due to the request being too
broad to determine specific information needed, or are considered to be proprietary information of

PennyMac.

lf you would like to view the original Note, you may make arrangements to come to PennyMac’s
offices in Califomia, to do so. Please contact PennyMac’s Customer Retention Group to schedule an

appointment at (866) 545-907().

ln addition, please be assured, your loan has been removed from our telephone calling system.
However, all other notices, outlined under the terms of your loan docuinents, will continue as

required.

In providing the above response, Pennyl\/lac is not limiting or waiving any rights or remedies it may
now or hereafter have, whether arising under the loan documents, at law or in equity, all of which
rights and remedies are expressly reserved.

Sincerely,

 

Research Department
PennyMac Loan Services, LLC

Enclosures

personally ____,,,» __

 

 

Case 2:14-cv-O4985-SVW-<F>`9W Document 1 Filed 06/26/14 ='P`age 56 of 87 Page |D #:56

P.O.Sox 514387
Los Ange|es,_CA 90051~4387

_F
Penrinacb ' as…m
_ ___-wW_”wmm4 fox (866) 577~7205
M\\\
wis Cwa/t/wo\ri`c..¢ io/\/ §§ fewer ,§»"\

D 65 if C»//€ c;.v£o£_ , y ///

  
  
   

December 23. 2013

   

Ruben Serna
1510 S New Hampshlre Ave
Los Angeles` CA 90006

Loan Number: l 0000308 l 0
Property Addi'ess: 1510 S New Hampsliire Ave
Los Angeles, CA 90006

Dear Ruben Serna:

This letter is in response to your correspondence received November 25` 2013. addressed to
PennyMac Loan Servi'ces, LLC ("Pennyl\/lac"), regarding the above referenced loan,

 

Review of your account confirmed on November 22, 2013, you spoke to Pennyl\/lac’s Custonier
Service Department and were informed the above loan was not eligible for modification review
because the property had an impending foreclosure sale scheduled within seven business days. .

Pennyl\/lac understands the challenging financial environment that exists today and its impact on a
borrower’s ability to pay the mortgage loan. l-lelping our customers to effectively manage through
these financial hardships and maintain ownership of their home is our main priority, We have placed
the foreclosure on hold to allow your loan to be reviewed for a modification Please contact our office
at (866) 545-9070 and one of our experienced Loan Specialists will review the numerous programs
that we offer to.determine which program may assist with the mortgage |oan. Please be advised, in
order to review your situation for assistaiice, it is imperative that you call us so we may obtain the
necessary information As of the date of this letter, your loan is due for the December 22. 2009

mortgage payment

 

lf you have additional questions please call our Loan l\/lodii‘ication Department at (866) 545~9070.
Our office hours are 7:00 AM to 6:00 PM, Monday through Friday. 7:00 AM to 1 1 :00 AM Saturday

PST.

Sincerely,

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[l¢l¢r€&r 536 age
Claudia De Leon<
Research Depanment
Pennylvlac Loan Services, LLC

 
  
 
   

his communication is from a debt collector However, it` your account is subject to pending bankruptcy proceedings or you ha\'e"`

recei\ ed a discl‘i`a`r‘g"e m bankruptcy this statement is for int`onnation purposes only and is not an attempt to collect a debt against you /
./" -`

/ personally

Case 2:14@661'&‘?4”93@=-@vv\l§§`§n?*2 Document 1 Fileci 06/26/14 .F>`§ge 57 circa?@‘~ijage lD #:57

Loan Serviees

P,Ol Bo)< 514387

Los r'\ngeles. CA 90_051-4387
. 'l`el. NO. (366) 545-9070
FasNo. (818) 264'4505

énn Mac

"“",.,,.,uy"-n;vt»» .v.-re..i<.um,ot\;*

 

Oetol)er 1 l, 20l2 PAYOFF STATEMENT

Sent tozlack Harriman & Assoc
Fa>t 626 256 8837
' t. ~t
Loan information ~
Loan number 10000308_l0' . . l - » . . . ` -¢.
Borrower: Ruben Séma ' ' ‘ ' ` ' ` '
Property Address~. 1 5 l 0 S 'i\lew Harnpshire Ave
Los Angeleé, CA 90006:4512

PeruinadLoan Servic`ing LLC (“PennyMac") reserves the right to correct any portion of this Payoff Statemeut at any
time, and all figures shall be subject to final verification by PermyMac, Figures may be adjusted if any previous payment
receivedjt rejected by the institution on which it`is drawn, and borrower/issuer ofany returned item shall remain liable for
said debt. ln such event_. this Payoft` Statément shall be deemed invalid anda nc\\"FayoE'Siatement must be obtained from
Penrinac to reflect the correct amount due end owing

PennyMac further reserves the right to demand additional funds before or subsequent to the release of its security interest in
the property to correct any error or omission in these figures made in good faith.

if the funds received are less than what is required to satisfy the loan in ful|, PennyMsc reserves ute right to return the funds
with an updated Payof!` Staternent. Please note that the security interest will not be released and interest will continue to
accrue tit the per diem rate until the loan is paid in i'ull.

Should you have any questionsy please contact our Loan Specialist at 1-866-601.-3518, Monday through Friday, between
700 AM. to 6:00 P.M. PST, 700 A.M to ll:OO A.M PST on Saturday.

VERIF|CAT}ON OF PAYOFF F[GURES 15 REQUlRED PR!OR TO PAYOFF. HOLD 51,456.16 (LAST
PAYMENT) FOR 30 DAYS TO ALLOW CLEARANCE, OR PROVIDE PROOF CF CLEARANCE AT THE
TlME PAYO£"F FUNDS ARE SUBMITT_ED.

Figures as of: 10/3l1‘12
Loan ls Due For: 12/22/09
Curtcnt lnterest Rate: 8419'.700%
Per Diem lnterest Amount as of 210/3 l/l 2 539.06
PA‘[DFE §REAKDOW'N:

Current Piincipal Balance; $l 71,560.28
interest Due as of'. 00/`00/00 341,368.06
Assessed Unpaid Late Fees: 572.8l
Escrow Advancet $7,020.17
Foreclosure Fees: $1,635,00
*“Foreclosure Fees: 5840.00
Foreclosure Costs: $4,297.6.7
""~"i-`ore-olosure Costs; - 5689.64
Property Preservation: 555 .00
**Property Preservation: 327.00
Broker Price Opinion: Sl$l.SO

“ “Broker Price Opinion; $SA.GO

BK Fees: ' 5550.00
Recording Fee: 334.00
Release Cost' 51 l.OO
'l"otal Payoff Amount as of ‘iO/S't/lz 5228,396.13 .

"Prepayment penalties are subject to change, based on the terms of the Note,
**Prior Servir.er Corporate Advance Balanre.

!ESTRUCTIGNS TO ESQEQW:

l. A late fee in the amount of 572.81 may be added after the lti‘h ofthe month
2. Funds MUST be sent via wire rransfer, cashiers chccl<, or title checks only.

PennyMac Lo:m Servicing LLC

Mai| or t’)vernlght lnstruction§:
PennyMac Loan Servlc_ing LLC

ABA #026009593 6101 Condor Drive
Credit: 1235983182 Moorparlc CA 93021
Loan #10000308!0 Attentiun: PayoffDepsrtment

Attention: Payoit` Department

 

 

 

         

l"ennyMac Loan Servicing LLC is nttemptl

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purpose lt` you received a discharge in Eankruptcy, en
and shall not attempt to collect the debt from you personally

To avoid any additional interest cbarges, funds MUST be received no later hon 12:00 PM, PST.

rig to collect a debt and any information obtained will he used for that\\\

nyMuc shall only exercise its rights against the property

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Case 2:14-cv-O4985-SVin-"J/V Document 1 Filed 06/26/14 '»P`;)ge 58 of 87 Page |D #:58

PennyMac® Notice Date: June 13, 2014

./‘
/

P.o. Box 514387 \ t _
<, vvvvv Los Angeies, on 900514367 Loan N“mb°" 1000030810
~~~-~»~__~WMW_./// Property Address:
1 l _ l _ 15103 Nevv Harnpshire Avo
Co \FlFQ,_F Po_./\/Ci€/\/SQ otc/tri 7L Los Angeles CA 90006

 

Ru'béii§§iné `
1510 S New Hampshiro Ave
Los Angeies CA 90006

 

REGARDING YOUR LOAN

At PennyMao Loan Services, LLC (“PennyMac"), we strive to provide our customers with timely communications and best-in~olase customer
service The purpose of this letter is to inform you that we have received your written request for research on the above-referenced loan,

 

WHY YOU RECENED THIS NOTICE

We are currently Conducting a full review of your loan as it relates to your inquiry. Upon completion of the review, a response letter will be mailed
to you detailing our findings and action taken

lf your inquiry is in reference to a payment dlspute, PonnyMac will nor furnish adverse infonnatlon to any consumer agency regarding tho
disputed payment for 60 days.

 

l wHAT You sHoui.o no

This letter does not require any action to be taken on your part. it is simply a courtesy notice about the status of your inquiry

 

l PENNYMAC APPREC|ATES YOUR EUSlNESS

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lt you have additional questions, please call our Cuotomer Servioe Dopartmont toll free at (800) 77'?’~4001l Our experienced Loan Speciallsts are

available from 6'.OD AM to 6:00 PM PT, Monday through Frioay, and 7:00 AM to 11;00 AM PT on Satotdey.

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(lhls communication is from a debt collector)nnd any information obtained will be used format purpose l

 

 

Wo are required by law to inform you tha
However, if your mortgage loan Mpending bankruptcy or you have received o discharge in bankruptoy,

 

 

 

t~_ this letter is for informational purposes and is not an attempt to collector debt against you personally ___¢_¥,_ . ~
` 'Toli` Fr`ee: (800)' 777'-4001" " Wobsite: www.P'ennyMacUSA.com Payments: Corraspondence:
M ~ F 6:GOarn ~ 6;00prn Paeiiic Secure Messaging inlna: Standard Addrass: Attr\: Correspondence Unlt l
Sat T;GOam - 11100 arn Paclflo Create an account and/or log in to P.O. Box 30597 P,O, Box 514387 l
Tol| Free Fax: (866) 577-7205 http://‘www.PonnyMacU SA.com, then look for Los Angeles. GA 90030-0597 Los Angeles, CA 9®51-4387 §

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communicate with us securely. 6*101 Condor Dnve l

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Moorparl<, CA 9302i

 

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// P.o.eox 514387 "‘ `\
/ Los Angeles, CA 90051-4387

P@n HYMBC® =./\ (800) 777~4001 //

ch fox (866) 577-7205 ,
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"‘--\__~______~_`_,_..~//

June 13, 2014

Ruben Serna
1510 S. New Hampshire Ave
Los Angeles, CA 90006

Borrower: Ruben Serna

Loan Number: 1000030810

Property Address: 1510 S. New Hampshire A )
Los Angeles, CA 90006

To Whom lt l\/lay Concern:

PennyMac Loan Services, Li.C is in receipt of your request for the investor/owner of the
referenced ioan.

As requested, the owner/investor is Pennyl\/lac Corp., whose address is 6101 Condor Drive, Suite

300 M_gorgarl<, CA _93021. However, at their request all loan inquiries should be directed to the
current loan servicer, Pennyl\/lac Loan Services, LLC. Cur contact information is as follows: /

§ Payment Address 1\ Correspondence Address §A
P 0. Box 30597 § P. 0 Box 514387
Los Angeles, CA 90051 l Los Angeles, CA 90051 §
MM..,~ - ~~”-"'*' fm ___~_. . ,. l_____“¢_~_`_~___~_mw_~_r__”w_,w`
( FaX #866 577- 7205 j

\__.

if your correspondence included a request for additional documentation and/or research please
be assured we are in the process of conducting a fuil review of the loan as it relates to your
inquiry. Upon completion of the review, a response letter will be mailed to you detailing our

findings and action taken.

lt you have additional Questions, please call our Customer Service Department toll free at {800)
777- 4001 Our Customer Service Representatives are available from 6200 AM to 6:00 PM PT,

l\/londay through Friday, 7: 00 AiVl to 11: 00 Al\/l PT on Saturday.

Sincerely, ` w'"""" /{é; ';’ V,»W AL;`{

Loan Administration
Pennyl\/lac Loan Services, LLC

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This communication is from a debt collector However, ifyour account is subject to pending bankruptcy proceedings or you have
received a discharge m bankruptcy, this statement is for information purposes only and is nolan attempt to collect a debt against you _
personally

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Recording Requested By:
Citlcorp Trust Bank, fsb

Return To:
Citicorp Trust Bank, fsb
Doc Processing Depc, MS 121

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Prepared By:

Citicorp Trust Bank, fsb

2450 Fire Mesa Street ' ' ' 7 ' ~ ~ 7 ~
Suite 110

Las Vegas, NV 89128

 

 

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DEED OF TRUST

DEFINITIONS
Words used in multiple sections of this document are defined below and other words are defined in

Sections 3, ll, 13,' 18, 20 and 21. Certain niles regarding the`usage of words used in this document are
also provided in Section 16.

(A) "Security Instrument" means 'this document, which is datedJuly 17, 2009 ,

together with all Riders to this document
(B) "Borrower" is RUBEN SERNA, A MARRIED MAN AS HIS SOLE AND SEPERATE PROPERTY

Borrower‘s address is PO BOX 151071, Los Angeles, CA 90015
. Borrower is the trustor under this Security Instrumeot.

(C) "Lender" is Citicorp Trust Bank, fsb

Lender is a Federal Savings Bank
organized and existing under the laws of Delaware

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Lender' s address is 4500 Liuden Hill Drive, Wilmington, DE 19808

Lender is the beneficiary under this Security Instrument_
(D) "Trustce" is Verdugo Trustee Scrvice Corporation

(E) "Note" means the promissory note signed by Borrower and dated July 17, 2009 .

The Note states that Borrower owes Lender One Hundred Seventy One Thousand Five Hundred Sixty &
- 28/100 Dollars
_ (U_S. $171,560.28 ) plus interest Borrower has promised to pay this debt in regular Periodic

Payments and to pay the debt in full not later than 07/22/2029 .

§F) "Property" means'the property that is dcscribed~beiow under the heading "Transfer of Rights in the ,

roperty."

(G) "Loan" means the debt evidenced by the Note, plus intarest, any prepayment charges and late charges

due under the Note, and all sums due under this Security Instrument, plus interest

(H) "Riders" means all Riders to this Security Instrument that are executed by Borrower. The following

Riders are to be executed by Borrower [check box as applicable]:

l:l Adjustable Rate Rider :l Condominium Rider [:] Sccond Home Rider

l:l sauoon aider § named ann oevaopmem aider l:i 1-4 rarely aider

l:] VA Rider :l Biweekly Payment Rider Other(s) [specEif`\yaw‘t “A“
n , . . . . . . . X \

(1) "Applicable Law" means all controlling applicable federal, state and local statutes, regulations
ordinances and administrative rules and orders (that have the effect of law) as well as all applicable final,
non-appealable judicial opinions

(J) "Communlty Association Dues, Fces, and Assessments" means all dues, fees, assessments and other
charges that are imposed on Borrowcr or the Property by a condominium nssociation, homeowners
association or similar organization

(K) "Electronlc Funds Transfer" means any transfer of funds, other than a transaction originated by
check, draft, or similar paper instrument, which is initiated through an electronic terminal, telephonic
instrument1 computer, or magnetic tape so as to order, insnuct, or authorize a financial institution to debit
_or credit an account, Such term includes, but is not limited to, point~of-sale transfers, automated teller
machine transactions, transfers initiated by telephonc, wire transfers, and automated clearinghouse
transfersl

(L) "Escrow Items" means those items that are described in Section 3_

(M) "Mlscellaneous Proceeds" means any compensation, settlement, award of damages, or proceeds paid
by any third party (other than insurance proceeds paid under the coverach described in Section 5) for: (i)
damage to, or destruction of, the Property; (ii) condemnation or other taking of all or any part of the
Property; (iii) conveyance in lieu of condemnation; or (iv) misrepresentations of, or omissions as to, the

value and/or condition of the Property.
(N) "Mortgage Insurance" means insurance protecting Lender against the nonpayment of, or default on,

the Loan.

(O) '_'Periodic Payment" means the regularly scheduled amount due for (i) principal and interest under the
Note, plus (ii) any amounts under Section 3 of this Security Instrument_

(P) "RESPA" means the Real Estate Settlement Procedures Act (12 U.S.C. Section 2601 et seq_) and its
implementing regulation, Regulation X (24 C.F.R. Part 3500), as they might he amended from time to
time, or any additional or successor legislation or regulation that governs the same subject matter. As used
in this Security Instrument, "RESPA" refers to all requirements and restrictions that are imposed in regard

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to a "federally related mortgage loan" even if the Loan does not qualify as n "federally related mortgage
loan" under RESPA.

(Q) "Suecessor in Interest of Borrower" means any party that has taken title to the Property, whether or
not that party has assumed Borrower's obligations under the Note and/or this Security Instrument.

TRANSFER OF RlGHTS lN THE PROPERT`Y

This Security Instrument secures to Lender: (i) the repayment of the Loan, and all renewa|s, extensions and
modifications of the Note; and (ii) the performance of Borrower‘s covenants and agreements under this
Security Instrument and the Note. For this purpose, Borrower irrevocably grants and conveys to
Trustee, in trust, with power of sale, the following described property located in the

'County ot'Los Angeles 7 7
['l`ype of Recording Jurisdiction] [Name of Recording Jurisdiction]
EXHIBIT "A"
Parcel ID Number: which currently has the address of
1510 S NEW HAMPSHIRE AVE [Streer]
LOS ANGELES [cuy], California 90006~4512 [zip Code]

("Property Address"):

TOGETHER WITH all the improvements now or hereafter erected on the property, and all
easements, appurtenancesl and fixtures now or hereafter a part of the property. All replacements and
additions shall also be covered by this Security instrument All of the foregoing is referred to in this
Security instrument as the "Property."

BORROWER COVENANTS that Borrower is lawfully seised of the estate hereby conveyed and has
the right to grant and convey the Property and that the Property is unencumbered, except for encumbrances
of record. Borrower warrants and will defend generally the title to the Property against all claims and
demands, subject to any encumbrances of record

THIS SECURITY INSTRUMENT combines uniform covenants for national use and non-uniform
covenants with limited variations by jurisdiction to constitute a uniform security instrument covering real
property.

UNlFORM C()VENANTS. Borrower and Lender covenant and agree as follows:

1. Payment of Princlpal, interest, Escrow Items, Prepayment Charges, and Late Charges.
Borrower shall pay when due the principal of, and interest on, the debt evidenced by the Note and any
prepayment charges and late charges due under the Note. Borrower shall also pay funds for Escrow Items
pursuant to Section 3. Payments due under the Note and this Security lnstrument shall be made in U.S.

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currency However, if any check or other instrument received by Lender as payment under the Note or this §
Security Instrument is returned to Lender unpaid, Lender may require that any or all subsequent payments
due wider the Note and this Security instrument be made in one or more of the following forms, as
selected by Lender: (a) cash; (b) money order; (c) certified check, bank check, trensurer's check or
cashier's check, provided any such check is drawn upon an institution whose deposits are insured by a
federal agency, instrumentality, or entity; or (d) Electronic Funds Transfer.

Payments are deemed received by Lender when received at the location designated in the Note or at
such other location `as may be designated by Lender in accordance with the notice provisions in Section l$.
Lender may return any payment or partial payment if the payment or partial payments are insufficient to
bring the Loan current. Lender may accept any payment or partial payment insufficient to bring the Loan
current, without waiver of any rights hereunder or prejudice to its rights to refuse such payment or partial
payments in the future, but Lender is not obligated to apply such payments at the time such payments are
accepted [f each Periodic Payment is applied as of its scheduled due date, then Lender need not pay
interest on unapplied funds Lender may hold such unapplied funds until Borrower makes payment to bring
the Loan current. If Borrower does not do so within a reasonable period of time, Lender shall either apply
such funds or return them to Borrower. If not applied earlier, such funds will be applied to the outstanding
principal balance under the Note immediately prior to foreclosure No offset or claim which Borrower
might have now or in the future against Lender shall relieve Borrower from making payments due under
the Note and this Security lnstrument or performing the covenants and agreements secured by this Security
instrument

2. Application of Pnyments or Proceeds. Except as otherwise described in this Section 2, all
payments accepted and applied by Lender shall be applied in the following order of priority: (a) interest
due under the Note; (b) principal due under the Note; (c) amounts due under Section 3. Such payments
shall be applied to each Periodic Payment in the order iu which it became due. Any remaining amounts
shall be applied first to late charges, second to any other amounts due under this Security lnstrument, and
then to reduce the principal balance of the Note.

If Lender receives a payment from Borrower for a delinquent Periodic Payment which includes a
sufficient amount to pay any late charge due, the payment may be applied to the delinquent payment and
the late charge. lf more than one Periodic Payment is outstanding, Lender may apply any payment received
from Borrower to the repayment of the Periodic Payments if, and to the extent that, each payment can be
paid in full. To the extent that any excess exists after the payment is applied to the full payment of one or
more Periodic l’ayments, such excess may be applied to any late charges due. Voluntary prepayments shall
be applied first to any prepayment charges and then as described in the Note.

Any application of payments, insurance proceeds, or Miscellaneous Proceeds to principal due under
the Note shall not extend or postpone the due date, or change the amount, of the Periodic Payments.

3. Funds for Escrow Items. Borrower shall pay to Lender on the day Periodic Payments are due
under the Note, until the Note is paid in full, a sum (the "Funds“) to provide for payment of amounts due
for: (a) taxes and assessments and other items which can attain priority over this Security Instrument as a
lien or encumbrance on the Property; (b) leasehold payments or ground rents on the Property, if any; (c)
premiums for any and all insurance required by Lender under Section 5; and (d) Mortgage Insurance
premiums, if any, or any sums payable by Borrower to Lender in lieu of the payment of Mortgage
Insurance premiums in accordance with the provisions of Section 10. These items are called "Escrow
Items." At origination or at any time during the term of the Loan, Lender may require that Community
Association Dues, Fees, and Assessments, if any, be escrowed by Borrower, and such dues, fees and
assessments shall he an Escrow Item. Borrower shall promptly furnish to Lender all notices of amounts to
be paid under this Section. Borrower shall pay Lender the Funds for Escrow Items unless Lender waives
Borrower‘s obligation to pay the Funds for any or all Escrow ltems. Lender may waive Borrower's
obligation to pay to Lender Funds for any or all Escrow Items at any time. Any such waiver may only be

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in writing. In the event of such waiver, Borrower shall pay directly, when and where payable, the amounts
due for any Escrow Items for which payment ot` Funds has been waived by Lender and, if Lender requires,
shall furnish to Lender receipts evidencing such payment within such time period as Lender may require.
Borrower‘s obligation to make such payments and to provide receipts shall for all purposes be deemed to
be a covenant and agreement contained in this Security Instrument,` us the phrase "covenant and agreement"
is used in Sectlon 9. lf Borrower is obligated to pay Escrow Items directly, pursuant to a waiver, and
Borrower fails to pay the amount due for an Escrow Item, Lender may exercise its rights under Section 9
and pay such amount and Borrower shall then be obligated under Section 9 to repay to Lender any such
amount Lender may revoke the waiver as to any or all Escrow Items at any time by a notice given in
accordance with Section 15 and, upon such revocation, Borrower shall pay to Lender all Funds, and in
such amounts, that are then required under this Secu'on 3. 7

Lender may, at any time, collect and hold Funds in an amount (a) sufficient to permit Lender to apply
the Funds at the time specified under RESPA, and (b) not to exceed the maximum amount a lender can
require under RESPA. Lender shall estimate the amount of Funds due on the basis of current data and
reasonable estimates of expenditures of future Escrow Items or otherwise in accordance with Applicable
Law.

The Funds shall be held in an institution whose deposits are insured by a federal agency,
instrumentality, or entity (including Lender, if Lender is an institution whose deposits are so insured) or in
any Federal Home Loan Bank. Lender shall apply the Funds to pay the Escrow Items no later than the time
specified under RESPA. Lender shall not charge Borrower for holding and applying the Funds, annually
analyzing the escrow account, or verifying the Escrow Items, unless Lender pays Borrower interest on the
Funds and Applicable Law permits Lender to make such a charge. Unless an agreement is made in writing
or Applicable Law requires interest to be paid on the Funds, Lender shall not be required to pay Borrower
any interest or earnings on the Funds. Borrower and Lender can agree in writing, however, that interest
shall be paid on the Funds. Lender shall give to Borrower, without charge, an annual accounting of the
Funds as required by RESPA.

It` there is a surplus of Funds held in escrow, as defined under RESPA, Lender shall account to
Borrower for the excess funds in accordance with RESPA. lt` there is a shortage of Funds held in escrow,
as defined under RESPA, Lender shall notify Borrower as required by RESPA, and Borrower shall pay to
Lender the amount necessary to make up the shortage in accordance with RESPA, but in no more than 12
monthly payments If there is a deficiency of Funds held in escrow, as defined under RESPA, Lender shall
notify Borrower as required by RESPA, and Borrower shall pay to Lender the amount necessary to make
up the deficiency in accordance with RESPA, but in no more than 12 monthly payments

Upon payment in full of all sums secured by this Security lnstrument, Lender shall promptly refund
to Borrower any Funds held by Lender.

4. Charges; Liens. Borrower shall pay all taxes, assessments charges, fines, and impositions
attributable to the Property which can attain priority over this Security Instrument, leasehold payments or
ground rents on the Property, if any, and Community Association Dues, Fees, and Assessments, if any, 'I’o
the extent that these items are Escrow Items, Borrower shall pay them in the manner provided in Section 3.

Borrower shall promptly discharge any lien which has priority over this Security Instrument unless
Borrower: (a) agrees in writing to the payment of the obligation secured by the lien in a manner acceptable
to Lender, but only so long as Borrower is performing such agreement; (b) contests the lien in good faith
by, or defends against enforcement of the lien in, legal proceedings Which in Lender's opinion operate to
prevent the enforcement of the lien while those proceedings are pending, but only until such proceedings
are concluded; or (c) secures from the holder of the lien an agreement satisfactory to Lender subordinating
the lien to this Security Instrument. If Lender determines that any part of the Property is subject to a lien
which can attain priority over this Security Instrument, Lender may give Borrowcr a notice identifying the

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lien. Withm lO. days of the date on which that notice is given, Borrower shall satisfy the lien or take one or
more of the actions sec forth above in this Section 4.

L'ender may require Borrower to pay a one»time charge for a real estate tax verification and/or
reporting service used by Lender in connection with this Loan.

5. Frop_erty Insurance. Borrower shall keep the improvements now existing or hereafter erected on
the Property insured against loss by iire, hazards included within the term "extcnded coverage," and any
other hazards including, but not limited to, earthquakes and iloods, for which Lender requires insurance
This insurance shall be maintained in the amounts (including deductible levels) and for the periods that
Lender requires. What Lender requires pursuant to the preceding sentences can change during the term of
the Loan. The insurance carrier providing the insurance shall be chosen by Borrower subject to Lender‘s
right to disapprove Borrower’s clioice, which right shall not be exercised unreasonably Lender may
require Borrower to pay, in connection with this Loan, either:'(a) a one-time charge t`or flood zone
determination1 certification and tracking scrvices; or (b) a one-time charge for flood zone determination
and certification services and subsequent charges each time remappings or similar changes occur which
reasonably might affect such determination or certification Borrower shall also be responsible for the
payment of any fees imposed by the Federal Emergency Management Agcncy in connection with the
review of any flood zone determination resulting from an objection by Borrower.

lf Borrower fails to maintain any of the coverages described above, Lender may obtain insurance
coverage, at Lender‘s option and Borrower‘s expense Lender is under no obligation to purchase any
particular type or amount of coverage Thereforc, such coverage shall cover Lender, but might or might
not protect Borrower. Borrower‘ s equity in the Property, or the contents of the Property, against any risk,
hazard or liability and might provide greater or lesser coverage than was previously in effect Borrower
acknowledges that the cost of the insurance coverage so obtained might significantly exceed the cost of
insurance that Borrower could have obtained Any amounts disbursed by Lender under this Section 5 shall
become additional debt oi` Borrower secured by this Security instrument 'I`hese amounts shall bear interest
at the Note rate from the date of disbursement and shall be payable, with such interest, upon notice from
Lender to Borrower requesting payment.

All insurance policies required by Lender and renewals of such policies shall be subject to Lender‘s
right to disapprove such policies, shall include a standard mortgage clause, and shall name Lender as
mortgagee and/or as an additional loss payee and Borrower further agrees to generally assign rights to
insurance proceeds to the holder of the Note up to the amount of the outstanding loan balance. Lender shall
have the right to hold the policies and renewal certificates It` Lender requires, Borrower shall promptly
give to Lender all receipts of paid premiums and renewal notices If Borrower obtains any form of
insurance coverage, not otherwise required by Lender, for damage to, or destruction ot`, the Property, such
policy shall include a standard mortgage clause and shall name Lender as mortgagee and/or as an additional
loss payee and Borrower further agrees to generally assign rights to lnstu'ance proceeds to the holder of the
Note up to the amount of the outstanding loan balance

In the event of loss, Borrower shall give prompt notice to the insurance carrier and Lender. Lender
may make proof of loss if not made promptly by Borrower. Unless Lender and Borrower otherwise agree
in writing, any insurance proceeds, whether or not the underlying insurance was required by Lender, shall
be applied to restoration or repair of the Property, if the restoration or repair is economically feasible and
Lender‘s security is not lessened During such repair and restoration period, Lender shall have the right to
hold such insurance proceeds until Lender has had an opportunity to inspect such Property to ensure the
work has been completed to Lender‘s satisfaction, provided that such inspection shall be undertaken
promptly Lender may disburse proceeds for the repairs and restoration in a single payment or in a series
of progress payments as the work is completed Unless an agreement is made in writing or Applicable Law
requires interest to be paid on such insurance proceeds, Lender shall not be required to pay Borrower any
interest or earnings on such proceeds Fees for public adjusters, or other third parties, retained by
Borrower shall not be paid out of the insurance proceeds and shall be the sole obligation of Borrower` lf
the restoration or repair is not economically feasible or Lender's security would be lessened, the insurance
proceeds shall be applied to the sums secured by this Security lnstrument, whether or not then due, with

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the excess, if any, paid to Borrower. Such insurance proceeds shall be applied in the order provided for in
Sectton 2.

' If Borrower abandons the Property, Lender may file, negotiate and settle any available insurance
claim and related matters If Borrower does not respond within 30 days to a notice from Lender that the
insurance carrier has offered to settle a claim, then Lender may negotiate and settle the claim. The 30-day
period will begin when the notice is given. in either event, or if Lender acquires the Property under
Section 2? or otherwise, Borrower hereby assigns to Lender (a) Borrower's rights to any insurance
proceeds in an amount not to exceed the amounts unpaid wider the N'ote or this Security Instrument, and
(b) any other of Borrower's rights (other than the right to any refund of unearned premiums paid by
Borrower) under all insurance policies covering the Property, insofar as such rights are applicable to the

' coverage of the Property. Lender may use the insurance'proceeds either to repair or restore the Property or
to pay amounts unpaid under the Note or this Security Instrument, whether or not then due.

6. Occupancy. Borrower shall occupy, establish, and use the Property as Borrower's principal
residence within 60 days after the execution of this Security Instrument and shall continue to occupy the
Propert}l as Borrower's principal residence for at least one year alter the date of occupancy, unless Lender
otherwise agrees in writing, which consent shall not be unreasonably withheld, or unless extenuating
circumstances exist which are beyond Borrowcr‘ s controi. _

7. Preservatlon, Maintenance and Protection of the Property; lnspecttons. Borrower shall not
destroy, damage or impair the Property, allow the Property to deteriorate or commit waste on the
Property. Whether or not Borrower is residing in the Property, Borrower shall maintain the Property in
order to prevent the Property from deteriorating or decreasing in value due to its condition Unless it is
determined pursuant to Section 5 that repair or restoration is not economically feasible, Borrower shall
promptly repair the Property it` damaged to avoid further deterioration or damagel lt` insurance or
condemnation proceeds are paid in connection with damage to, or the taking ot`, the Property, Borrower
shall be responsible for repairing or restoring the Property only if Lender has released proceeds for such
purposes. Lender may disburse proceeds for the repairs and restoration in a single payment or in a series of
progress payments as the work is completed If the insurance or condemnation proceeds are not sufficient
to repair or restore the Property, Borrower is not relieved of Borrower's obligation for the completion of
such repair or restoration

Lender or its agent may make reasonable entries upon and inspections of the Property, If it has
reasonable cause, Lender may inspect the interior of the improvements on the Property. Lender shall give
Borrower notice at the time of or prior to such an interior inspection specifying such reasonable cause.

8. Borrower’s Loan Applicatlon. Borrower shall be in default if, during the Loan application
process, Borrower or any persons or entities acting at the direction of Borrower or with Borrower's
knowledge or consent gave materially false, misleading, or inaccurate information or statements to Lender
(or failed to provide Lender with material information) in connection with the Loan. Material
representations include, but are not limited to, representations concerning Borrower's occupancy of the
Property as Borrower‘ s principal residencel

9. Protection of Lender's interest in the Property and Rights Under this Security instrument lf
(a) Borrower fails to perform the covenants and agreements contained in this Security Instrument, (b) there
is a legal proceeding that might significantly affect Lender‘s interest in the Property and/or rights under
this Security Instrument (such as a proceeding in bankruptcy, probate, for condemnation or forfeiture, for
enforcement of a lien which may attain priority over this Security Instrument or to enforce laws or
regulations), or (c) Borrower has abandoned the Property, then Lender may do and pay for whatever is
reasonable or appropriate to protect Lender‘s interest in the Property and rights under this Security
Instrument, including protecting and/or assessing the value of the Property, and securing and/or repairing
the Property, Lender's actions can includc, but are not limited to: (a) paying any sums secured by a lien
which has priority over this Security Instrument; (b) appearing in court; and (c) paying reasonable

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attorneys fees to_ protect its interest in the Property and/or rights under this Security lnstrument, including
its secured position in a bankruptcy proceeding Securing the Property includes, but is not limited to,
entering the Property to make repairs, change locks, replace or board up doors and windows, drain water
from prpes, eliminate building or other code violations or dangerous conditions, and have utilities turned
on or off. Although Lender may take action under this Seetion 9, Lender does not have to do so and is not
under any duty or obligation to do so. lt is agreed that Lender incurs no liability for not taking any or all

actions authorized under this Section 9.
Any amounts disbursed by Lender under this Section 9 shall become additional debt of Borrower

secured by this Security lnstrument. 'l_'hese amounts shall bear interest at the Note rate from the date of
disbursement and shall be payable, with such intercst, upon notice from Lender to Borrower requesting

payment. _ `
lt` this Security Instrument is on a leasehold, Borrower shall comply with all the provisions of the

lease. lf Borrower"acquires 't`ee' title to'the"Property, the leasehold and'the fee title shall¢notmcrge unless
Lender agrees to the merger in writing

10. Mortgage Insurance. If Lender required Mortgage Insurance as a condition of making the Loan,
Borrower shall pay the premiums required to maintain the Mortgage lnsurance in ct`fect. If, for any reason,
the Mortgage lnsurance coverage required by Lender ceases to be available from the mortgage insurer that
previously provided such insurance and Borro\ver was required to make separately designated payments
toward the premiums for Mortgage Insurance, Borrower shall pay the premiums required to obtain
coverage substantially equivalent to the Mortgage lnsurance previously in effect, at a cost substantially
equivalent to the cost to Borrower of the Mortgage Insurance previously in effect, from an alternate
mortgage insurer selected by Lender. lt` substantially equivalent Mortgage lnstu'anee coverage is not
available, Borrower shall continue to pay to Lender the amount of the separately designated payments that
were due when the insurance coverage ceased to be in efi`ect. Lender will accept, use and retain these
payments as a non-refundable loss reserve in lieu of Mortgage Insurance'. Such loss reserve shall be
non-refundable notwithstanding the fact that thc Loan is ultimately paid in full, and Lender shall not be
required to pay Borrower any interest or earnings on such loss reserve. Lender can no longer require loss
reserve payments if Mortgage insurance coverage (in the amount and for the period that Lender requires)
provided by an insurer selected by Lender again becomes available, is obtained, and Lender requires
separately designated payments toward the premiums for Mortgage Insurance. If Lender required Mortgage
Insurance as a condition of making the Loan and Borrower was required tc make separately designated
payments toward the premiums for Mortgage Insurance, Borrower shall pay the premiums required to
maintain Mortgage insurance in effect, or to provide a non~refundable loss reserve, until Lender's
requirement for Mortgage lnsurance ends in accordance with any written agreement between Borrower and
Lender providing for such termina 'on or until termination is required by Applicable Law. Nothing in this
Section lO affects Borrower's obligation to pay interest at the rate provided in the Note.

Mortgage lnsurance reimburses Lender (or any entity that purchases the Note) for certain losses it
may incur if Borrower does not repay the Loan as agreed. Borrower is not a party to the Mortgage

Insurance.
Mortgage insurers evaluate their total risk on all such insurance i`n force from time to time, and may

enter into agreements with other parties that share or modify their risk, or reduce losses. These agreements
are on terms and conditions that are satisfactory to the mortgage insurer and the other party (or parties) to
these agreements These agreements may require the mortgage insurer to make payments using any source
ot` funds that the mortgage insurer may have available (which may include funds obtained from Mortgage
insurance premiums).

As a result of these agreements, Lender, any purchaser of the Note, another insurer, any reinsurer,
any other entity, or any affiliate of any of the foregoing, may receive (directly or indirectly) amounts that
derive from (or might be characterized as) a portion of Borrower’s payments for Mortgage lnsurance, in
exchange for sharing or modifying the mortgage insurer’s risk, or reducing losses. lf such agreement
provides that an affiliate of Lender takes a share of the insurer's risk in exchange for a share of the

premiums paid to the insurer, the arrangement is often termed “captive reinsurance.” Further:
(a) Any such agreements will not affect the amounts that Borrower has agreed to pay for

Mortgage lnsurancc, or any other terms of the Loao. Such agreements will not increase the amount
B_orrower will owe for Mortgage Insurance, and they will not entitle Borrower to any refund.

   

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(b) Any such agreements will not affect the rights Borrower has - if any - with respect to the
Mortgage insurance under the Homeowners Protection Act of 1998 or any other law. These rights
may include the right to receive certain disclosures, to request and obtain cancellation of the
Mortgage Insurance, to have the Mortgage Insurance terminated automatically, and/or to receive a
refund ot` any Mortgage insurance premiums that were unearned at the time of such cancellation or
termination.

' ll. Assigument of Miscellaneous Procecds; Forfeiture. All Miscellancous Proceeds are hereby
assigned to and shall be paid to Lender.

if the Property is damaged, such Miscellaneous Proceeds shall he applied to restoration or repair of
the _Property, if the restoration or repair is economically feasible and Lender's security is not lessened
Duruig such repair and restoration period, Lender shall have the right to hold such Miscellaneous Proceeds

, until Lender_ has had,,an opportunity to inspthsuch,Propertymto,ensurewthe work has been completed to
l.cnc_ler‘ s satisfaction, provided that such inspection shall be undertaken promptly. Lender may pay for the
repairs and restoration in a single disbursement or in a series of progress payments as the work is
completed Unless an agreement is made in writing or Applicable Law requires interest to be paid on such
Miscellaneous Proceeds, Lender shall not be required to pay Borrower any interest or earnings on such
Miscellaneous Proceeds. If the restoration or repair is not economically feasible or Lender's security would
be lessened, the Miscellaneous Proceeds shall be applied to the sums secured by this Security lnstrument,
whether or not then due, with the excess, if any, paid to Borrower. Such Miscellaneous Proceeds shall be
applied in the order provided for in Section 2.

lri the event of a total taking, destruction, or loss in value of the Property, the Miscellaneous
Proceeds shall be applied to the sums secured by this Security lnstrument, whether or not then due, with
the excess, if any, paid to Borrower.

In the event of a partial taking, destruction, or loss in value of the Property in which the fair market
value of the Property immediately before the partial taking, destruction, or loss in value is equal to or
greater than the amount of the sums secured by this Security Instrument immediately before the partial
taking, destruction, or loss in value, unless Borrower and Lender otherwise agree in writing, the sums
secured by this Security Instrument shall be reduced by the amount of the Miscellaneous Proceeds
multiplied by the following fraction: (a) the total amount of the sums secured immediately before the
partial taking, dcstruction, or loss in value divided by (b) the fair market value of the Property

immediately before the partial taking, destruction, or loss _in value. AnK balance shall be paid to Borrower.
ln the event of a partial taking, destruction, or loss in value of t c Property in which the fair market

value of the Property immediately before the partial taking, destruction, or loss in value is less than the
amount of` the sums secured immediately before the partial taking, destruction, or loss in value, unless
Borrower and Lender otherwise agree in writing, the Mi'scellaneous Proceeds shall be applied to the sums
secured by this Security instrument whether or not the sums are then due.

If the Property is abandoned by Borrower, or ii`, after notice by Lender to Borrower that the
Opposing Party (as defined in the next sentencc) offers to make an award to settle a claim for damages,
Borrower fails to respond to Lender within 30 days after the date the notice is given, Lender is authorized
to collect and apply the Miscellaneous Proceeds either to restoration or repair of the Property or to the
sums secured by this Security lnstrumcnt, whether or not then due. "Opposing Party" means the third party
that owes Borrower Miscellaneous Proceeds or the party against whom Borrower has a right of action in

regard to Miscellaneous Proceeds. _ _ ` l . _ . _
Borrower shall be in default if any action or prooeeding, whether civil or criminal, is begun that, in

Lender's judgment, could result in forfeiture oi` the Property or other material impairment of Lender's
interest in the Property or rights under this Security lnstrument. Borrower can cure such a default and, if
acceleration has occurred, reinstate as provided in ~Section 19, by causing the action or proceeding to be
dismissed with a ruling that, in Lender‘s judgment, precludes forfeiture of the Pi‘operty or other material
impairment of Lender's interest in the Property or rights under this Security Iristi'ument, The Proceeds of
any award or claim for damages that are attributable to the impairment of Lender' s interest in the Property

are hereby assi ed and shall be paid to Lender. _ _ _
All Misce laneous Proceeds that are not applied to restoration or repair of the Property shall be

applied in the order provided for in Section 2.
12. Borrower Not Re[eased; Forhearance By Lender Not a Walver. Extension of the time for

payment or modification of amortization of the sums secured by this Security Instrumenr granted by Lender

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to Borrower or any Successor in interest of Borrower shall not operate to release the liability of Borrower
or any Successors in lnterest of Borrower. Lender shall not be required to commence proceedings against
any Successor in lnterest of Borrower or to refuse to extend time for payment or otherwise modify
amortization of the sums secured by this Security Instrumcnt by reason of any demand made by the original
Borrowe_r or any Successors in Inrerest of Borrower. Any forbearance by Lender in exercising any right or
remedy including, without limitation, Lender's acceptance of payments from third persons, entities or
Succ`essors in Inter_est of Borrower or in amounts less than the amount then due, shall not be a waiver of or
preclude the exercise of any right or remedy.

13. Jolnt and cheral Liability; Co-signers; Successors and Assigns Bound. Borrower covenants
and sgrces that Borrower‘ s obligations and liability shall be joint and several. However, any Borrower who
co-sig,_ns this Security instrument but does not execute the Note (a "co-signer"): (a) is co-signing this
7 Security,lnstrument_ only to mcrtgage, grant and convey ,the,cg~signer‘s interest in the Property under the
terms of this Security lnstrurnent; (b) is not personally obligated to pay the sums secured by this Security
Instrumcnt; and (c) agrees that Lender and nny other Borrower can agree to extend, modify, forbear or
make any accommodations with regard to the terms of this Security Instrurnent or the Note without the
co-signer' s consent

Subject to the provisions of Section 18, any Successor in lnterest of Borrower who assumes
Borrower's obligations under this Security Instrurnent in writing, and is approved by Lender, shall obtain
all of Borrower's rights and benefits under this Security instrument Borrower shall not be released from
Borrower's obligations and liability under this Security lnstrument unless Lender agrees to such release in
writing. The covenants and agreements of this Security Instrument shall bind (e)tcept as provided in
Section 20) and benefit the successors and assigns of Lender.

14. Loan Charges. Lender may charge Borrower fees for services performed in connection with
Borrower's default, t`or the purpose cf protecting Lender's interest in the Properry and rights under this
Security lnstrument, including, but not limited to, attorneys' fces, property inspection and valuation fees.
In regard to any other fees, the absence of express authority in this Security instrument to charge a specific
fee to Borrowcr shall not be construed as a prohibition on the charging of such t`ee. Lender may not charge
fees that are expressly prohibited by this Security Instrurnent or by Applicable Law.

lf the Loan is subject to a law which sets maximum loan charges, and that law is finally interpreted so
that the interest or other loan charges collected or to be collected in connection with the Loan exceed the
permitted limits, them (a) any such loan charge shall be reduced by the amount necessary to reduce the
charge to the permitted limit; and (b) any sums already collected from Borrower which exceeded permitted
limits will be refunded to Borrower. Lender may choose to make this refund by reducing the principal
owed under the Note or by making a direct payment to Borrower. lf a refund reduces principal, the
reduction will be treated as a partial prepayment without any prepayment charge (whcther or not a
prepayment charge is provided for under the Note]. Borrower's acceptance of any such refiind made by
direct payment to Borrower will constitute a waiver of any right of action Borrower might have arising out
of such overcharge

15. Notices. All notices given by Borrower or Lender in connection with this Security Lnstrument
must be in writing. Any notice to Borrower in connection with this Security lnstrument shall be deemed to
have been given to Borrower when mailed by first class mail or when actually delivered to Borrower's
notice address if sent by other means Notice to any one Borrower shall constitute notice to all Borrowers
unless Applicable Law expressly requires otherwise The notice address shall be the Property Address
unless Borrower has designated a substitute notice address by notice to Lender. Borrower shall promptly
notify Lender of Borrower’s change of address It` Lender specifies a procedure for reporting Borrower's
change of address, then Borrower shall only report a change of address through that specified procedure
Tbere may be only one designated notice address under this Security Instrument at any one time. Any
notice to Lender shall be given by delivering it or by mailing it by first class mail to Lender's address
stated herein unless Lender has designated another address by notice to Borrower. Any notice in
connection with this Security Instrument shall not be deemed to have been given to Lender until actually
received by Lender. If any notice required by this Security Instrurnent is also required under Applicable
Law, the Applicable Law requirement will satisfy the corresponding requirement under this Security

lnstrument.

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16. Governiog Law; Severabillty; Rules of Constructiou. This Security lnstrument shall be
governed by federal law and the law of the jurisdiction in which the Property is located. ’All rights and
obligations contained in this Security instrument are subject to any requirements and limitations of
Apphcable_Law. Applicabie Law might explicitly or implicitly allow the parties to agree by contract or it
might be silent, but such silence shall not be construed as a prohibition against agreement by contract In
the event that any provision or clause of this Security instrument or the Note conflicts with Appiicable
Law, such conflict shall not affect other provisions of this Security Instrument or the Note which can be
given effect without the conflicting provision.

As used in this Security instrument (a) words of the masculine gender shall mean and include
corresponding neuter words or words of the feminine gender; (b) words in the singular shall mean and
include the plural and vice versa; and (c) the word "may" gives sole discretion without any obligation to
take anynaction. 7

17. Borrower's Copy. Borrower shall be given one copy of the Note and of this'Sccurity Instrument.

18. Transl`er of the Property or a Beneticial Interest in Borrower. As used in this Section 18,
"Interest in the Property" means any legal or beneficial interest in the Property, including, but not limited
to, those beneficial interests transferred in a bond for deed, contract for deed, installment sales contract or
escrow a reement, the intent of which is the transfer of` title by Borrower ata future date to a purchaser.

If a or any part of the Property or any interest in the Froperty is sold or transferred (or if Borrower
is not a natural person and a beneficial interest in Borrower is sold or transferred) without Lender‘s prior
written consent, Lender may require immediate payment in full of all sums secured by this Security
Instrument. However, this option shall not he exercised by Lender if such exercise is prohibited by
Applicable Law.

If Lender exercises this option, Lender shall give Borrower notice of acceleration The notice shall
provide a period of not less than 30 days from the date the notice is given in accordance with Section 15
within which Borrower must pay ali sums secured by this Security lnstrument. If Borrower fails to pay
these sums prior to the expiration of this period, Lender may invoke any remedies permitted by this
Security Instrument without further notice or demand on Borrower.

19. Borrower's Right to Reinstate After Acceteratton. I_f Borrower meets certain eonditicns,
Borrower shall have the right to have enforcement of this Security instrument discontinued at any time
prior to the earliest of: (a) five days before sale of the Property pursuant to any power of sale contained in
this Security instrument; (b) such other period as Applicable Law might specify for the termination of
Borrower's right to reinstate', or (c) entry of a judgment enforcing this Security instrument Those
conditions are that Borrower: (a) pays Lender ali sums which then would be due under this Security
instrument and the Note as it` no acceleration had occurred; (b) cures any default of any other covenants or
agreements; (c) pays ali expenses incurred in enforcing this Security Instrument, inciuding, but not limited
to, reasonable attorneys' fees, property inspection and valuation fees, and other fees incurred for the
purpose of protecting Lender`s interest in the Property and rights under this Security instrument; and (d)
takes such action as Lender may reasonably require to assure that Lender's interest in the Property and
rights under this Security Instrument, and Borrowcr's obligation to pay the sums secured by this Security
Instrument, shall continue unchanged Lender may require that Borrower pay such reinstatement sums and
expenses in one or more of the foilowin forms, as selected by Lender: (a) cash; (b) money order; (c)
certified check, bank check, treasurer's c eck or cashier's check, provided any such check is drawn upon
an institution whose deposits are insured by a federal agency, instrumentality or entity; or (d) Electronic
Funds Transfer. Upon reinstatement by Borrowcr, this Security Instrument and obligations secured hereby
shall remain fhlly eti`ective as it` no acceleration had occurred However, this right to reinstate shall not

 

 

   
 

  
 

he Note or a partial interest in

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Borrower. A sale might result in a change in the entity (known as the "Loan Servicer") that collects
Periodic Payments due under the Note and this Security Instrument and performs other mortgage loan
servicing obligations under the Note, this Security Instrument, and Applieable Law. There also might be
one or more changes of the Loan Servicer unrelated to a sale of the Note. if there is a change of the Loan
Servicer, Borrower will be given written notice of the change which will state the name and address of the
new Loan Servicer, the address to which payments should be made and any other information RESPA

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requires in connection with a notice of transfer of servicing\ lf the Note is sold and thereafter the Loan is
serviced by a Loan Servicer other than the purchaser of the Note, the mortgage loan servicing obligations
to Borrower will remain with the Loan Servicer or be transferred to a successor Loan Servicer and are not
assumed by the Note purchaser unless otherwise provided by the Note purchascr.

Neither Borrower nor Lender may coirhnence, join, or be joined to any judicial action (as either an
individual litigant or the member of a class) that arises from the other party‘s actions pursuant to this
Security instrument or that alleges that the other party has breached any provision ot`, or any duty owed by
reason of, this Security Instrument, until such Borrower or Lender has notified the other party (with such
notice given in compliance with the requirements of Section 15) of such alleged breach and afforded the
other party hereto a reasonable'period after the giving of such notice to take corrective action. rif
Applicable Law provides a time period which must elapse before certain action can be taken, that time
period will be deemed to be reasonable for purposes of this paragraph The notice of acceleration and
opportunity to cure given to Borrower pursuant to Section 22 and the notice of acceleration given to
Borrower pursuant to Section 18 shall be deemed to satisfy the notice and opportunity to take corrective
action provisions of this Scction 20.

21. Hazardous Substances. As used in this Section 21: (a) "Hazardous Substances" are those
substances defined as toxic or hazardous substances, pollutants, or wastes by Environmental an and the
following substances: gasoline, kerosene, other flammable or toxic petroleum products, toxic pesticides
and herbicides, volatile solvents, materials containing asbestos or formaldehyde, and radioactive materials;
(b) “Environmental Law“ means federal laws and laws of the jurisdiction where the Property is located that
relate to health, safety or environmental protection', (c) "Environmentai Cieanup" includes any response
action, remedial action, or removal action, as defined in Environmental Law; and (d) an "Environmental
Condition" means a condition that can cause, contribute to, or otherwise trigger an Environmental
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Borrower shall not cause or permit the presence, use, disposal, storage, cr release of any Hazardous
Substances, or threaten to release any Hazardous Substances, on or in the Property, Borrower shall not do,
nor allow anyone else to do, anything affecting the Property (a) that is in violation of any Environmental
Law, (b) which creates an Environmental Condltion, or (c) which, due to the presence, use, or release of a
Hazardous Substance, creates a condition that adversely affects the value of the Property. The preceding
two sentences shall not apply to the presence, use, or storage on the Property of small quantities of
Hazardous Substances that are generally recognized to be appropriate to normal residential uses and to
maintenance of the Property (including, but not limited to, hazardous substances in consumer products).

Borrower shall promptly give Lender written notice of (a) any investigation, ciaim, demand, lawsuit
or other action by any governmental or regulatory agency or private party involving the Property and any
Hazardous Substance or Environrnental Law of which Borrower has actual knowledge, (b) any
Environrnental 'Condition, including but not limited to, any spilling, leaking, discharge, release or threat of
release of any Hazardous Substance, and (c) any condition caused by the presence, use or release of a
Hazardou_s Substance which adversely affects the value of the Property. If Borrower learns, or is notified
by any governmental or regulatory authority, or any private party, that any removal or other remediation
of any Hazardous Substance affecting the Property is necessary, Borrower shall promptly take all necessary
remedial actions in accordance with Environmental Law. Nothing herein shall create any obligation on
Lender for an Environmental Cleanup.

 
  

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Case 2:14-cv-O4985-SVW+\F515W Document .1 Filed 06/26/14 P`€}ge 74 of 87 Page |D #:74

NON~UNIFORM COVENANTS. Borrower and Lender further covenant and agree as folio\vs: two

22. Acceleration; Remedies. Lender shall give notice to Borrower prior to acceleration following
Borrower‘s breach of any covenant or agreement in this Security Instrument (but not prior to
acceleration under Section 18 unless Applicable Law provides otherwise). The notice shall specify: (a)
the default; (b) the action required to cure the defauit; (c) a date, not less than 30 days from the date
the notice is given to Borrower, by which the default must be cured; and (d) that failure to cure the
default on or before the date specified in the notice may result in acceleration of the sums secured by
this Security Instrument and sale of the Property. The notice shall further inform Borrower of the
right to reinstate after acceleration and the right to bring a court action to assert the non-existence of
a default or any other defense of Borrower to acceleration and sale, if the default is not cured on or
hefore,,the date specified in the notice, Lenderat its option,may require immediate payment in full of
all sums secured by this Security Instrument without further demand and may invoke the power of
sale and any other remedies permitted by Applicable Law. Lender shall be entitled to collect all
expenses incurred in pursuing the remedies provided in this Section 22, including, but not limited to,
reasonable attorneys' fees and costs of title evidence.

Il' Lender invokes the power of sale, Lender shall execute or cause Trustee to execute a written
notice of the occurrence of an event of default and of Lender's election to cause the Property to he
sold. Trustee shall cause this notice to be recorded in each county in which any part of the Property
is located. Lender or Trustee shall mail copies of the notice as prescribed by Applicable Law to
Borrower and to the other persons prescribed by Applicai)le Law. Trustce shall give public notice oi`
sale to the persons and in the manner prescribed by Applicable Law. After the time required by
Applicable Law, Trustee, without demand on Borrower, shall sell the Property at public auction to
the highest bidder at the time and place and under the terms designated in the notice ot` sale in one or
more parcels and in any order Trustee determines Trustee may postpone sale of all or any parcel of
the Property by public announcement at the time and place of any previously scheduled sale. Lender
or its designee may purchase the i’roperty at any sale,

Trustee shall deliver to the purchaser Trustee's deed conveying the Property without any
covenant or warranty, expressed or implied. The recitals in the Trustee's deed shall be prima facie
evidence of thc truth of the statements made therein. Trustce shall apply the proceeds of the sale in
the following order: (a) to all expenses oi' the sale, including, but not limited to, reasonable Trustee's
and attorneys' fees; (b) to all sums secured by this Security Instrument; and (c) any excess to the
person or persons legally entitled to it.

23. Recohveyance. Upon payment of all sums secured by this Security Instrument, Lender shall
request Trustee to reconvey the Property and shall surrender this Security lnstrument and all notes
evidencing debt secured by this Security Instrument to Trustee. Trustee shall reconvey the Property
without warranty to the person or persons legally entitled to it. Lender may charge such person or persons
a reasonable fec for reconveying the Property, but only if the fec is paid to a third party (such as the
Trustee) for services rendered and the charging of the fcc is permitted under Applicable Law. If` the fec
charged does not exceed the fee set by Applicable Law, the fee is conclusively presumed to bc reasonable

24. Substitute Trustee. Lender, at its option, may from time to time appoint a successor trustee to
any Trustee appointed hereunder by an instrument executed and acknowledged by Lender and recorded in
the office of the Recorder of the county in which the Property is located. The instrument shall contain the
name of the original Lender, Trustee and Borrower, the book and page where this Security instrument is
recorded and the name and address of the successor trustce. Without conveyance of the Property, the
successor trustee shall succeed to all the title. powers and duties conferred upon the Trustee herein and by
Applicabie Law. This procedure for substitution of trustee shall govern to the exclusion of all other
provisions for substitution

25. Statement of obligation Fee. Lender may collect a fec not to exceed the maximum amount
permitted by Applicable Law for furnishing the statement of obligation as provided by Section 2943 of the

Civil Codc of California.

001120935085 ` v 3
CAUFORNlA-Sing|e Famiiy~Fannle MaelFreddle Mac UN|FOH£ lNSTRUMENT __` Form 3005 1101
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The undersigned Borrower requests that a copy of any Notice of Default and any Notice of Sale under
this Security Instrument be mailed `to the Borrnwcr at the address set forth above. A copy of any Notice of
Default and any Notice of Sale will be sent only to the address contained in this recorded request. If the
Borrower‘s address changes, a new request must be recordedl

BY SIGNING BELOW, Borrower accepts and agrees to the terms and covenants contained in this
Security Instrument and in any Rider executed by Borrower and recorded with it.

Witnesses:

I/: `, /,`_Pp`/E/z_/-x' (Seat)

 

 

 

 

 

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page 14 of 15

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State of Cal‘fornia g/ [
County of 65 AAS af } ss.

On gic/7 [71:/5 2470 ? before made i//kO AD§`£ t//?l:§ /\/07§/‘7 }Q<gl'¢

, personally appeared

EM@€M:*€@M d j " ,who

proved to me on the basis of satisfactory evidence to be the personl,sj' whose name;'y)'__`_,.i§i_m:e-eubscribed to
the within instrument and acknowledged to me that h§/she.&hey executed the same in _li_i§/har¢their
authorized capacity(ies), and that by_hi§/her=ltheir signan\re,(e}' on the instrument the person.(.a§, or the entity
upon behalf of which the person(,a} acted, executed the instrument l certify under PENALTY OF
PERJURY under the laws of the State of California. that the foregoing paragraph is true and correct

WITNESS my hand and official seal.

 

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LEGAL_ DESCR|PT|ON
EXH|BlT “A"

ALL THAT PARCEL OF LAND lN LOS ANGELES COUNTY, STATE OF CALlFORNlA, AS DESCR|BED lN DEED DOC 7
# 06~0830331. lD# 5075-002~013. BE|NG KNOWN AND DES|GNATED AS:

THE WEST 82.5 FEET OF LOT 18 OF THE BUHLER TRUST lN THE ClTY OF LOS ANGELES. COUNTY OF LOS
ANGELES. STATE OF CALlFORNlA. AS PER MAP RECORDED lN BOOK 13 PAGES 85 lNCLUS\VE OF MlSC.
RECORDS OFF!CE OF THE COUNTY RECORDER OF SAlD COUNTY.

5075-002-013

Page 3 of 16 CLTA Prcliminary Repun Form - Modified (l lll7/06)

Case 2:14-cv-O4985-SVW<PJ/V Document 1 Filed 06/26/14 P`§ge 78 of 87 Page |D #:78

 
    
 
  

This is a true and certlied copy of the record

  
   
  
   

 

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Case 2:14-cv-O4985-SVW-PJ)/V Document 1 Filed 06/26/14 Pe)ge 79 of 87 Page |D #:79

NOTE

3111)’ 17» 2009 Compton California
iDawi tcityt israel

1510 S NEW HAMPSHIRE AVE, LOS ANGELES, CA 90006-4512
[Property Address]

t. aoanowaa' s ritoMtsE To PAY ' "
In return for a loan that l have received, l promise to pay U.S. $ 171,550-28 (this amount is called "Principal").
plus interest, to the order of the Lender. T he Lender is CifiGOrP Tfusf Bank, fsb

l will make all payments under this Note in the form of cash, check or money order.
l understand that the Lender may transfer this Note. The Lender or anyone who takes this Note by transfer and who is

entitled to receive payments under this Note is called the "Note Holder."

2. INTEREST

Interest will be charged on unpaid principal and shall accrue daily until the full amount of Principal has been paid based
upon a yearly rate of 8-1 749 %. Interest will be computed on the basis of a 360 day year.

The interest rate required by this Section 2 is the rate I will pay both before and after any default described in Section 6(B)
oi` this Note. Because interest accrues daily, if my monthly payment is not received by Lender by the date such payment is due.
interest will condone to accrue until the day such payment is received by Lender.

3. PAYMENTS

(A) Time and Place of Payments .

l will pay principal and interest by making a payment eve month. ‘

I will make my first monthly payment on migqu 22» 20 and on that day each month thereafter. l will
make these payments every month until I have paid ali of the principal and interest and any other charges described below that I
may owe under this Note’. Each monthly payment will be applied to interest computed to tlte date of payment before Frinctpal.
lf. on J“ly 22) 2029 , l still owe amounts under this Note, l will pay those amounts in full on that date. which

is called the "Maturity Date. "

l will make my monthly payments at CitiMortgage, Inc., 1000 Technology Drive, O'Fatlon, MO 63368-2240

or at a different place if required by the Note Holder.

(B) Amount of Monthly Payments
My monthly payment will be in the amount of U.S. $ 1,456. 16

4. BORROWER' S RIGHT TO PREPAY v _ '
I have the right to make pa ments of Principal at any time before they are_tiue. A payment of Pnnctpal only is known as a
"Prepayment." When l make a repayment, I will tell t c Note Holder in writing that l am doing so. I may not designate a

a ment as a Pre a ment if I have not made all the monthly payments due under the Note. .
p y l may makepa}i`ull Prepayment or artial Prepayments without paying a Prepaytnent charge. The Note Holder will use my
Prepayments to reduce the amount 03 Principal that l owe under this Note. However, the Note Holder may apply my

Pre a ment to the accrued and nn aid interest on the Prepayment amounl, before applying my Prepayment to reduce tlte
Prirlt]ci)pal amount of the Note. If l ngal<e a partial Prepayment, there will be no changes m the due date or m the amount of my

monthly payment unless the Note Holder agrees in writing to those`changes.

Applicatlon No. 001120935085' Account No. \120935085
MULT|STATE FIXE) RATE NOTE-Singte Family-Fannle MaelFteddle Mac UN|FORM lNSTRUMBQT
Modifled by Citicorp Trust Bank, fsb

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5. LOAN CHARGES

if a law, which applies to this loan and which sets maximum loan charges, is finally interpreted so that the interest or other
loan charges collected or to be collected in connection with this loan exceed the permitted limits, then: (a) any such loan charge
shall be reduced by the amount necessary to reduce the charge to the permitted limit; and (b) any sums already collected front
me which exceeded permitted limits will be refunded to me. The Note Holder may choose to make this refund by reducing the
Principal lowe under this Note or by making a direct payment to me. if a refund reduces Principal. the reduction will be treated
as a partial Prepayment.

6. BORROWER‘S FAILURE TO PAY AS REQU!RED

(A) Latc Chargc for Overdue Payments

lf the Note Holder has not received the full amount of any monthly payment by the end of` 15 calendar days
after the date it is due, l will pay a late charge to the Note Holder. The amount of the charge will be 5.000 % of
my overdue payment of principal and interest,' l will pay this late chargepromptly”but only once on each late payment.

(B) Default
lf l do not pay the full amount of each monthly payment on the date it is due, lwill be in default.

(C) Notice of Default
if l am in default, the Note Holder may send me a written notice telling me that if I do not pay the overdue amount by a

certain date. the Note Holder may require me to pay immediately the full amount of Principal which has not been paid and all
the interest that l owe on that amount. That date must he at least 30 days after the date on which the notice is mailed to me or

delivered hy other means.

(D) No Waiver By Note Holder
Even if, at a time when I am in default, the Note Holder does not require me to pay immediately in full as described

above. the Note Holder will still have the right to do so if lam in default at a later time.

(E) Payment of Note Holder‘s Costs and Expeiises
Il` the Note Holder has required me to pay immediately in full as described above, the Note Holder will have the right to

he paid back by me for all of its costs and expenses in enforcing this Note to the extent not prohibited by applicable law. 'l`hose
expenses inolude, for example, reasonable attorneys' fees (unless the property is located in West Virginia).

7. GIVING OF NOTICES
Unless applicable law requires a different method, any notice that must be given to me under this Note will be given by

delivering it or by mailing it by first class mail to me at the Property Address above or at a different address if l give the Note
Holder a notice of my different address '

Any notice that must be given to the Note Holder under this Note will be given by delivering it or by mailing it by first
class mail to the Note Holder at the address stated in Section S(A) above or at a different address il` l am given a notice of that

different address.

8. OBLIGATIONS OF PERSONS UNDER THIS NOTE

lf more than one person signs this Note, each person is fully _
this Note, including the promise to pay the full amount owed. Any person who is a guarantor. surety or endorser of this Note is
also obligated to do these things, Any' person who takes over these obligations including the obligations of a guarantor, surety
. or endorser of this Note, is also obligated to keep all of the promises made in this Note. The Note Holder may enforce its rights
under this Note against each person individually or against all of us together. This means that any one of us may be required to

pay all of the amounts owed under this Note.

and personally obligated to keep all of the promises made iii

9. WAIVERS

I and any other person who has obligations und
waive the benefit of the homestead exemption as to the Prop
property is located in Virginia). "Presentnient" means the rig
"Notice of Dishonor" means the right to require the Note Holder to give notice

er this Note waive the rights of Presentment and Notice oi' Dishonor (and
erty described in the Security instrument (as defined below) if the
lit to require the Note Holder to demand payment of amounts due.
to other persons that amounts due have not been

paid .
Application No. 001120935085 Account No. 1120935085
' MULT|STATE FlXED RATE NOTE-Singte Family~Fannia MaelFreddie Mac UNlFCRM |NSTRUMB~tT Modified Form SZY 113
Page 2 of d lnttlals , ,..

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10. UNIFORM SECURED NOTE

This Note iS a uniform instrument with limited variations in some jurisdictions ln addition to the protections given to the

NO¢€ HOld€l` l"ld€l` this NOI€. a Mottgage, Deed of ’I`rust, or Security Deed (the "Security lnstrument"), dated the same date as
this Note, protects the Note Hol_der from possible losses which might result ifl do not keep the promises which l make in this
Note. That Security Instrument describes how and under what conditions l may be required to make immediate payment in full
of all amounts l owe under this Note. Some of those conditions are described as follows: .

If all Or any part of the Property or any interest in the Property is sold or transferred (or it Borrower is
not a natural person and a beneiicial interest in Borrower is sold or transferred) without Lender's prior written
CO"$€M. Lender may require immediate payment in full of 'all sums secured by this Security lnstrument.
However, this option Shall not be exercised by Lender if such exercise is prohibited by Ap'plicable Law.

If` Lender exercises this option, Lender shall give Borrower notice of acceleration. The notice shall
provide a period of not less than 30 days from the date the notice is given in accordance with Section 15

n within which Borrower must pay rall”sums secured by this Security Instrument. lf Borrower fails to pay these
sums prior to the expiration of this period, 'I".ender may invoke any remediés*pérrnitted"by'"this Security
Instrument without further notice or demand on Borrower.

 

ll§ [The following provision applies to ALASKA loans only.]

NOTICE OF OTHER REMEDIES
To the extent set forth in this Note and any Rider attached hereto (a) the mortgagor or trustor ("Borrower") is personally

obligated and fully liable for all amounts due under this Note, and (b) the holder hereof has the right to sue on this Note
and obtain a personal judgment against the Borrower for satisfaction of all amounts due under this Note either before or
after aj"dicial foreclosure. under Alaska Statutes §§ 09.45.170 through 09.45.220. of the deed of trust which secured this

Note. .

[The following provision applies to FLORIDA loans only.]
DOCUMENTARY TAX
The state documentary tax due on this Note has been paid on the mortgage securing this indebtedness

[Th€ following PrOViSion applies to NEW HAMPSHIRB loans only.]

ATTORNEYS' FEES

Pursuant to New Hampshire Revised Statutes Annotated § 361-C:2, in the event that Borrower shall prevail in (a) any
action, suit or proceeding, brought by Lend_er. or (b) an action brought by Borrower, reasonable attomeys` fees shall be
awarded to Borrower. Further_ if Borrower shall sucessfully assert a partial defense or set-off. recoupment or counterclaim
to an action brought by Lender, a court may withhold from Lender the entire amount or such portion of its attorneys' fees

as the court shall consider equitable

Appiicaliolt ND. 001120935085 Account Na, l120935085

' MULTtSTATE FlXED RATE NOTE-Singte Family-Fannie MaeJFreddie Mac UN|FORM tNSTRUM B~i"r
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[Tlie following provision applies to VER.MONT loans only.]

NOTICE TO CO-SIGNER
YOUR SIGNATURE ON THIS NOTE MEANS THAT YOU ARE EQUALLY LIABLE FOR REPAYMENT OF
TH(I)S LCAN. IF THE BORROWER DOES NOT PAY, THE LENDBR HAS A. LEGAL RIGHT TO COLLECT
FR M YOU.

WITNESS THE HAND(S) AND SEAL(S) OF THE UNDERS!GNED

 

 

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(Seal)
RUB N SE A -Borrower
(Sr,'gn Ongil)a/ 011/jj
. Pay to the Order N\ot'O ngage`| mo
thhout Recourse
_______"C_`_“:'_i°'”“"
Cttioorp Trust Bank, FSB
Paul DeGmooto, Vioe Ptestdent
Appiication No. 001120935085 Account No. ll20935085
' MULT|STATE F|XEJ RATE NOTE Single Family-Fannie Mae/Freddie Mac UN|FORM |NSTRUMENT

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400018 7 006

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Governing Law
Addendum to Note

THIS COVERNING LAW ADDENDUM TO NOTE (the "Addendum") is made this 17th day of
Iulv. 2009 . and is incorporated into and shall be deemed to amend and supplement the Note

made by thc undersigned ("Borrower"), in favor of Citicorp Trust Bank, fsb
("Lendcr") and dated the same date as this Addendum (the “Note"). The Note is secured by a mortgage/deed of
trust/security agreement (the "Security Instrument") in favor of Lender dated the same date as this Addendum.

 

ADDITIONAL COVENANTS[ In addition to 'thé*covénants' and"a§mein'ents 'ma'de'in"the Note; Borrower and
Lender further covenant and agree as follows:

l. Governing Law.

This Note witt be governed by United States federal law and, to the extent United States federal law is
inapplicable then by the laws of the State of Delaware; except that, with regard to the perfection and
enforcement of Lender's security interest in the Property, the Note and Security Instrument will be governed

by the law of the state where the Property is located.

BY SIGNING BELOW, Borrower accepts and agrees to the terms and provisions contained in this Governing

Law Addendum to Note.
`\
< §§ ; é%£l 4 § Q£_ £_¢_:r__q (Seal)
' orrower

(Sign Original Only)

GFM°'Z<°$°?) Appn¢anmt No. 001120935035 Acwnmuo. 1120935085

Case 2:14-cv-O4985-SVW¢\/PJ;W Document 1 Filed 06/26/14 '/Pe}ge 84 of 87 Page |D #:84

TIMELY PAYMENT REWA.RDS ADDENDUM TO NOTE

THIS TlMELY PAYMENT REWARDS ADDENDUM TO NOTE is made this 17th ' day
of ltjiy_, 2009 ,and is incorporated into and shall be deemed to amend and supplement the Note made
by the undersigned ("Borrower"), in favor of Citico§p Trust Bank, fsb
("Lender“) and dated the same date as this Addendum (the “Note"). The Note is secured by a security instrument,
as modified or amended. in favor of Lender dated the 17th day of luly k , 2909 (the
"Security Instrument")_

 

ADDITIONAL COVENANTS. In addition to the covenants vand agreements made in the Note,
Borrower and Lender further covenant and agree as follows:

1. TIMELY PAYMENT REWAKDS RATE REDUCTION

Borrower has agreed to pay the rate of interest set forth in Section 2 of the Note (the "Note
Rafe") until the full amount of principal has been paid. However, if on any one of the
second. third, or fourth anniversaries of the scheduled due date of the first full installment
payment due under the Note (each, an "Anniversary Date") Borrower has demonstrated a
Good Payment Histoty, Lender agrees to decrease the Note Rate by t One
percentage point t 1.0 %). Borrower will be deemed to have demonstrated a "Good
Payment Histoty" if Borrower: (a) has made each of the most recent 24 consecutive
monthly payments under the Note and Security lnstrument before the date the next
payment was due; and (b) has never been late by 3 months or more in making any monthly
payments due under the Note. lf Borrower demonstrates a Good l’ayment l~listory, the new
Note Rate will take effect on the first day of the earliest Anniversary D_ate on which
Borrower has demonstrated a Good Payment History ("Rate Reduction Date"). Beginning
With Borrower's first monthly payment after the Rate Reduction Date, Borrower will pay
the new amount as the monthly payment until the Maturity Date. Lender will decrease
Borrower‘s Note Rate only one time during the term of the loan, provided Borrower
demonstrates a Good Payment History on any one of the second. third. or fourth
Anniversary Dates.

 

BY SIGNING BELOW, Borrower accepts and agrees to the terms and provisions contained in this

Timely Payment Rewards Addendutn to Note.
(Seal)
A ' -Borrower

(Slgn Original On/y)

crtmztrosmo Application No. 001120935085 Aeconnt No. 1120935085

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‘\Case 2:14-cv-O4985-SVW-P.]W Document 1 Filed 06/26/14 Page 85 of 87 Page |D #:85
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ClVlL COVER SHEET
l. (a) PLAlNTlFFS ( Check box if you are representing yourself §§ DEF/E\|}DANTS ( Check box lf you are representing yourself |:|)
~ / DC)C Lc€',j'f' LLC
"l? U¢l?£/\/ SEKJ\/A' jun ¢e.~¢/tf zth//‘ceg
3 614-: wm exeré, .m/c.

 

(b) County of Residence of First Listed Plaintiff

(EXCEPT/N U.S. PLAlNTIFF CA$ES)

(c) Attorneys (Firm Name, Address and Telephone Number) if you are

representing yourself, provide the same information.
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refer 64 70@<>¢,

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695 ivy

County of Residence of First Listed Defendant 512 D/‘° §Q{\/

(lN U.S. PLAINTlFF CASE$ ONL Y) r'/°'Wr

Attorneys (Firm Name, Address and Telephone Number) lf you are
representing yourse|f, provide the same information.

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l|. BAS|S OF JUR|SD|CT|ON (P|ace an X in one box only.)

1. U.S. Government
Plaintiff

2. U.S. Government
Defendant

. Federa| Question (U.S.
Government Not a Party)

|:] 4 Diversity (lndicate Citizenship
of Parties' ln item |l|)

lll. C|TlZENSHlP OF PR|NCIPAL PART|ES-For Diversity Cases On|y
(P|ace an X` m one box for plaintiff and one for defendant)
PTF DEF PTF DEF
. . . incorporated or Principal P|ace
szen ofTh'S State E/1 |:| 1 of Business in this State l:| 4 I:] 4
Citizen of Another State [:| 2 |:| 2 lncorporated and Principal P|ace [:I 5 §(§
of Business in Another State
Citizen or Subject of a . .
Foreign Country |:] 3 I:] 3 Forelgn Natlon |:] 6 |:| 6

 

 

lV. ORlG|N (P|ace an X in one box only.)

1 . Original 2.
Proceeding

Removed from :| 3.Remanded from |:| 4.Relnstated or 5.Transferred fromAnother |:I 6'§::::€.(
State Court Appel|ate Court Reopened DlSUin (SPeCifY) litigation

 

V. REQUESTED |N COMPLA|NT: JURV DEMAND: §Yes g No
CLASS ACTION under F.R.Cv.P. 23:

[:| Yes E'No

(Check "Yes" only if demanded in complaint.)

EMQNEY DEMANDEo IN coMPLAlNT: s MD£UK/l/ux/£p

Vl. CAUSE OF A(;T|ON (Cite the U.S. Civil Statute under which you are filing and write a brief statement of cause. Do not cite jurisdictional statutes unless diversity.)

/S" M.JTC,

/'t>€/z

er '\/, omb/11 ed F@c()»»t

 

Vll. NATURE OF SU|T (P|ace an X in one box on|y).

  

 

 

 
 
   

 

 

 

   

    
  

      

     

  

  
   
     
   
 
 
 
   
 

   
    
 

    

 

  
   
 
   
     
  
  
     
    

  
 
 

    

 
   
   
   
 

       

 

 

 

 

g 375 Fa|$e C|aims Act [:] 110 lnsurance 240 Torts to Land [:] :;.;El:at§;alization Habea$ Corpus_ |:] 320 Copyright$
m 400 State_ [:] 120 Man~ne 1:| 24519rt Product |:| 463 Alien Detainee |:] 330 patent
Reapp°m°nme“t L'ab'|'ty I:| 465 Other |:| 510 Motlons to Vacate
g 410 Amitrust |:] 130 Mi||erAct |:| 290 Al|OtherReal lmmigration Actions Sentence I:I 840 Trademark
E] 430 Banks and Banklng 140 Neg°tiab|e proer m 530 Genera| . »
l:| lnstrument 14 0 ) [:| 535 Death Penalty |:| 361 H|A(13'95ff)
m g:?€SC/EE-merce/ICC bi(;?:§>?nvi§'nyt(§.f 310 upon m 370 °"`6' F"`“"“" w ” [J 862 Black Lung 1923)
{:\ 460 Deportation Enforcement of 315 Airp|ane |:| 371 Truth in Lending [:| 540 MandamuS/Other l:] 363 D|WC/D|WW(405 (g))
470 Racketeertnflu- Judgmem |:l Product L\`abi"ty |:\ 380 OtherPersona| |:| 550 Civi| Rights |___| 364 SS|DTit|e Xv|
[:l enced & Corrupt Org. l:] 151 Medi_care Act [:| §é(:‘§;sault, Libe| & Property Damage 555 Prison Condl.tion |:| 865 RS| (405 (g))
|:] 480 Consumer Credit 152 Recovery of , 385 Property_£_)amage 560 Civ" Detainee
490 Cab|e/Satw |:| Defauned student I:l E;%:§g Emp'°ye'$ m Prodect Llal>lllty [] Cond,t,onsof 1
m . . Loan (Exd Vet) |:| 340 Marine t |:] 870 Taxes(U..S Plainttff or
[:| 850 _S_ecurltles/Com- 153 Recovery of 345 Marine product g 422 Appea128 _ . Defendant)
modlttes/Exchange |:| Overpayment of [:| liability USC 158 |:| 5 rug eated E7 871 lRS- Third Party 26 USC
890 Other Statutory' Vet. Benefits ' 423 Withd,awa| 23 Seizure of Property 21
m Actlons m 160 Stockho|ders. |:| 350 MotorVehlc|e |:| U5C157 [:] L;;§ 28*11
' Su'ts 355 MotorVehic|e c t er
|:| ::; ;\gr_'wltural:\|m ' |:| Productuability _ . t
nv"onmen a 190 Other 360 Other Personal v
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ree omo n o. .
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E Act E Product Liability m Med Ma|pratice \:| ::§ :mP'f)Y"/‘e“t m §§:)a;.'a)bt;r/Mgmt.
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|:| 896 Arb|trat|on |:| 196 Fra"°h'$e [:| §§gd‘:lecrts€il;:)‘illi?ywy m Acc°mm°da"°ns |:l 740 Railway LaborAct
899 Admin. Procedures 367 Hea|th Care/ 445 Ame"€a" With . .
Act/Review of Appea| of 210 Land Pharmaceutlca| l:l Disabilities- |:| 751 Faml|y and Medlca|
l:] l:l Leave Act
Agen€>' D€CiSiOn Condemnation Persona| lnjury EmP|°yment
Product Liability 446 American with 790 Other Labor
\:| 220 Forec|osure |:| _ |:|
950 constitutionality of 368 Asbestos DlSabllltles-Other L'flgaflon
\:| State Statutes §;(lctl::l;t`|t.ease & [j ger;orglLinjtt,i_r|§/t |:| 448 Education &;:gplirmpl&);ee Ret. lnc.
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FOR OFFlCE USE ONLY: Case Number:

 

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§|V|L COVER SHEET Page 1 of 3

"’\Case 2:14-cv-O4985-SVW-P.]W Docurnent 1 Filed 06/26/14 Page 86 of 87 Page |D #:86
uNlTED sTATEs DlsTRlcT couRT, cENTRAL DlsTRlcT oF cALlFoRNlA

Vlll.~ VENUE: Your answers to the questions below will determine the division of the Court to which this case will be initially assigned.

ClVlL COVER SHEET

This initial assignment is subject

to change, in accordance with the Court‘s General Orders, upon review by the Court of your Complaint or Notice of Remova|.

 

 

QUEST|ON A: Was this case removed
from state court?

|:l Yes R/No

lf "no, " skip to Question B. lf "yes," check the
box to the right that applies, enter the
corresponding division in response to
Question E, below, and continue from there.

QUEST|ON B: ls the United States. or
one of its agencies or employees, a
PLAlNTlFF in this action?

f [:| Yes g No'

|f "no, " skip to Question C. If "yes," answer
Question B.1, at right.

QUEST|QN C: ls the United States, or
one of its agencies or employees, a
DEFENDANT in this action?

l:| Yes g No

lf“no, " skip to Question D. lf"yes,“ answer
Question C.i , at right. '

 

    

 

 

 

v eis wl
[:l Los Ange|es, Ventura, Santa Barbara, or San Luis Obispo Western
|:| Orange Southern
[:| Riverside or San Bernardino Eastern

   

. v §?§’ “' §§ ` .s'¢'
B.1, Do 50% or more of the defendants who reside in
the district reside in Orange Co.?
check one of the boxes to the right »

  

 

 

YES. Your case will initially be assigned to the Southern Division.
[:| Enter "Southern" in response to Question E, below, and continue
from there.

 

|:| NO. Continue to Question B.2.

 

B.2. Do 50% or more of the defendants who reside in
the district reside in Riverside and/or San Bernardino
Counties? (Consider the two counties together.)

check one of the boxes to the right

->

 

C.1. Do 50% or more of the plaintiffs who reside in the
district reside in Orange Co.?

->

check one of the boxes to the right

YES. Your case will initially be assigned to the Eastern Division.
|:| Enter "Eastern" in response to Question E, below, and continue
from there.

 

NO. Your case will initially be assigned to the Western Division.
|:] Enter "Western" in response to Question E, below, and continue
from there.

YES. Your case will initially be assigned to the Southern Division.
[:] Enter "Southern" in response to Question E, below, and continue
from there.

 

[:_] NO. Continue to Question C.2.

 

 

C.2. Do 50% or more of the plaintiffs who reside in the
district reside in Riverside and/or San Bernardino
Counties? (Consider the two counties together.)

->

check one of the boxes to the right

|ndicate the |ocation(s) in which 50% or more of plaintiffs who reside in this district
reside. (Check up to two boxes, or leave blank if none of these choices apply.)

 

YES. Your case will initially be assigned to the Eastern Division.
[:l Enter "Eastern" in response to Question E, below, and continue
from there.

 

 

NO. Your case will initially be assigned to the Western Division.
|:l Enter "Western" in response to Question E, below, and continue
from there.

 

 

 

|ndicate the |ocation(s) in which 50% or more of defendants who reside in this
district reside. (Check up to two boxes, or leave blank if none of these choices

a ply)

D.‘l .

[:\ Yes

  

BNO

lf "yes," your case will initially be assigned to the
SOUTHERN DlVlSlON.

Enter "Southern" in response to Question E, below, and continue from there.

|f "no," go to question D2 to the right.

 

 

Enter the initial division

we s a

Do 50% or more of plaintiffs or defendants in

-)

v w ex

C, or D above:

->

   

 

D.2. ls there at least one answer in Co|umn B?

|f "no," your case will be assigned to the WESTERN DlVlSlON.

.§ '\

this district reside in Ventura, Santa Barbara, or San Luis Obispo counties?

I:l Yes E\’No

lf "yes," your case will initially be assigned to the
EASTERN DlVlSlON.

Enter "Eastern" in response to Question E, below.

Enter "Western" in response to Question E, below.

 

  

 

I:] Yes |E/No

 

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‘~»~ ’\Case 2:14-cv-O4985-SVW-P.]W Docurnent 1 Filed 06/26/14 Page 87 of 87 Page |D #:87

UNlTED STATES DlST.RlCT COURT, CENTRAL DlSTRlCT OF CAL|FORN|A

 

ClVlL COVER SHEET
lX(a). lDENTlCAL CASES: Has this action been previously filed in this court? ' g NO l:| YES
lryes, list case number(s):
lX(b). RELATED CASES: ls this case related (as defined below) to any cases previously filed in this court? g NO |:] YES

|f yes, list case number(s):

Civi| cases are related when they:

 

|:l A. Arise from the same or closely related transactions, happening, or event;

l:| B. Call for determination of the same or substantially related or similar questions of law and fact; or

|:| C. For other reasons would entail'substantial¢duplication¢o"f labor"if heard"by'differentjudges

Check all boxes that apply. That cases may involve the same patent, trademark, or copyright is not, in itself, sufficient to deem cases

related.

 

X. SlGNATURE OF ATTORNEY
(OR SELF-REPRESENTED LIT|GAN

(_'/ /
TB<(; Z, Q§Q LYT de £§: :¥ DATE: é/Zé[Ze/\{

Notice to Counsel/Parties: The submission of this Civil Cover Sheet is required by Loca| Rule 3-1. This Form CV-71 and the information contained herein
neither replaces nor supplements the filing and service of pleadings or other papers as required by |aw, except as provided by local rules of court. For
more detailed instructions, see separate instruction sheet (CV-O71A).

 

 

Key to Statistical codes relating to Social Security Cases:

Nature of Suit Code

861

862

863

863

864

865

Abbreviation

HlA

BL

DlWC

D|WW

SSlD

RS|

Substantive Statement of Cause of Action

All claims for health insurance benefits (Medicare) under Title 18, Part A, of the Social Security Act, as amended. Also,
include claims by hospitals, skilled nursing facilities, etc., for certihcation as providers of services under the program.
(42 U.S.C. 193SFF(b))

All claims for "Black Lung" benefits under Title 4, Part B, of the Federal Coal Mine Health and Safety Act of 1969. (30 U.S.C.
23)

All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as amended; plus
all claims filed for child's insurance benefits based on disability. (42 U.S.C. 405 (g))

All claims died for widows or widowers insurance benefits based on disability under Title 2 of the Social Security Act, as
amended. (42 U.S.C. 405 (g))

All claims for supplemental security income payments based upon disability fried under Title 16 of the Social Security Act, as
amended.

All claims for retirement (o|d age) and survivors benefits under Title 2 of the Social Security Act, as amended.
(42 U.S.C. 405 (g))

 

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